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                                 #:1759


1           SUPPLEMENTAL DECLARATION OF STEPHEN MCARTHUR
2    I, Stephen McArthur, hereby declare as follows:
3          1.     I am an attorney at law, duly admitted into practice before the State of
4    California and this Court. I am an attorney with The McArthur Law Firm, P.C.,
5    counsel for Plaintiff Thrive Natural Care, Inc. (“Thrive”). I make this Supplemental
6    Declaration in support of Thrive’s Reply Brief in Support of Motion for Preliminary
7    Injunction (“Motion”) against Defendant Le-Vel Brands, LLC (“Le-Vel”). I am over
8    18 years of age and make this declaration of facts known to me and, if called upon, I
9    could and would testify competently to the facts stated herein.
10         2.     Attached hereto as Exhibit A are true and correct copies of screenshots
11   from websites for Amazon.com, Best Buy, Zappos, and Chewy.com. Each of these
12   websites requests that the user enter a login and password to access their account prior
13   to reaching the point-of-purchase page.
14         3.     Attached hereto as Exhibit B are true and correct copies of articles
15   relating to the enactment of the Trademark Modernization Act of 2020 with
16   information on the enactment date of the presumption of irreparable harm amendment
17   highlighted in yellow.
18         4.     Attached hereto as Exhibit C is a true and correct copy of a ThorCheck
19   report from TM TKO identifying numerous identical federal registrations for skincare
20   and vitamin products that have different listed mark owners. An explanation of the
21   methodology used to compile these reports is available here:
22   https://www.tmtko.com/methodology (last visited March 27, 2021).
23         5.     Attached hereto as Exhibit D are true and correct copies of articles
24   relating to “reputation-washing” by companies and individuals.
25   ///
26   ///
27   ///
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                          SUPPLEMENTAL DECLARATION OF STEPHEN MCARTHUR
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1          I declare under penalty of perjury under the laws of the United States of
2    America that the foregoing is true and correct. Executed on March 29, 2021.
3
4                                                 ________________________________
                                                  Stephen McArthur
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                         SUPPLEMENTAL DECLARATION OF STEPHEN MCARTHUR
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                               Exhibit A
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                                       tomdietrich7@gmail.com


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                               Exhibit B
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Published on The National Law Review (http://www.natlawreview.com)



How Does the Trademark Modernization Act of 2020 Help
You Protect Your Brand?
Article By:
John Gary Maynard, III
Anu Sharma

Signed into law on December 27, 2020, the Trademark Modernization Act of 2020 (TMA) provides amendments to existing
federal trademark law that will assist US retailers and other businesses with branding decisions. Congress passed the TMA as
part of the COVID-19 relief and government-funding bill.

Key TMA amendments include authority for submission of evidence by third parties during trademark examination,
procedures to challenge trademarks due to non-use (so-called “deadwood trademarks”), and a statutory presumption of
injunctive relief in trademark infringement proceedings. Most of the amendments have an effective date of December 27,
2021, giving the United States Patent and Trademark Office (USPTO) a year to implement the TMA’s changes—with one
important exception that took effect immediately: the rebuttable presumption of irreparable harm.

In sum, retailers now have additional tools to defend and enforce their own marks, and to challenge the marks of others, as
further described below.

Statutory Rebuttable Presumption of Irreparable Harm (Effective Immediately)
Retailers who face trademark infringement, and seek a temporary restraining order, preliminary injunction, or permanent
injunction in federal court to stop it, now have the benefit of being entitled to a rebuttable presumption of irreparable harm on
a finding of infringement or likelihood of success on the merits.

This is important because, unlike prior to the TMA amendment, when different jurisdictions followed different standards of
law, retailer trademark owners can expect application of a uniform standard in assessing the available equitable remedies for
infringement, which may make it easier to obtain injunctive relief.

Evidence Submitted by-----------
                      Third Parties (Effective December 27,----
                                     ----------------      2021).

The TMA allows a third party to submit evidence for consideration in the refusal of a trademark registration application prior
to registration, for example, evidence that the third party was using the trademark before the applicant. Retailers should
expect a decision from the USPTO on whether such evidence will be included in the record within two months of
submission. This decision by the USPTO is final and non-reviewable and does not prejudice any party’s right to raise any
issue and rely on any evidence in any other proceeding.

Ex Parte Expungement Proceeding (Effective December 27, 2021)
                                 --------------------·
Under the TMA, any person can file a petition to expunge a trademark registration—anytime between three and ten years
after the registration date of the mark—on the ground that the mark has never been used in commerce on or in connection
with some or all of the goods or services recited in the registration. The USPTO will determine whether a petitioner
conducted a reasonable investigation and set forth a prima facie case of non-use. If so, the USPTO will institute an ex
parte expungement proceeding and notify all parties involved. The procedures for ex parte expungement are largely the same
as those for trademark application examination, but here the trademark owner has an opportunity to combat the assertions
raised in the petition by offering excusable non-use to prevent cancellation of the mark.

For retailers and others seeking to cancel a trademark, an advantage of this type of proceeding, as opposed to inter
partes proceedings before the USPTO, is that it may be less costly and time consuming.

Ex Parte Reexamination Proceeding (Effective December 27, 2021)·
                                   --------------------
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Similar to ex parte expungement, under the TMA any person can file an ex parte reexamination on the ground that the
trademark has never been used in commerce on or in connection with some or all of the goods or services recited in the
registration. However, ex parte reexamination will be limited to non-use over a defined time (in effect, on or prior to a
relevant date, which can constitute the date the trademark application was filed and its as-filed use, the date the trademark
application was amended to allege use, or the time period for filing a statement of use that expired). In addition, the petition
must be filed within the first five years of the registration date of the trademark. Thus, those seeking to challenge trademark
non-usage by ex parte reexamination will need to file a petition rather quickly or risk a laches issue and dismissal for failure
to act within the allotted time.

Important Takeaways
We encourage retailer trademark owners to affirm that their marks cover and are being used for goods or services as set forth
in the trademark registration or risk being challenged under the procedures set forth in the TMA on the ground of alleged
non-use. (Retailers should take note that the USPTO itself will have the ability to file both ex parte expungement and ex
parte reexamination petitions; such petitions are not limited to third parties, e.g., challengers or competitors.) In addition,
retailers alleged to infringe another’s trademark are reminded that the rebuttable presumption of irreparable harm is already
in effect.

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National Law Review, Volume XI, Number 62
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HOME / NEWS / U.S. TRADEMARK AND COPYRIGHT LAW CHANGES INCLUDED IN CORONAVIRUS RELIEF




Significant Changes to U.S. Trademark and                                                 RELATED PRACTICES
Copyright Law Included in Latest
Coronavirus Relief Legislation                                                            Trademarks

12/28/2020
David A. Bell , Jason P. Bloom , Joseph Matal , Wesley Lewis                              Copyright

On Sunday, December 27, 2020, President Trump signed into law a COVID-19 relief
and government spending bill entitled the “Consolidated Appropriations Act, 2021.”        Intellectual Property
Within its nearly 5,600 pages are significant new trademark and copyright
provisions unrelated to either the coronavirus or the funding of the government. For
trademark owners, the legislation incorporates the Trademark Modernization Act of
2020, H.R. 6196, likely the most significant trademark legislation since the Lanham
Act’s enactment nearly 75 years ago. It will change trademark practice in several         TRENDING ISSUES
ways, including: (i) providing a statutory rebuttable presumption of irreparable
harm to benefit brand owners in trademark litigation; and (ii) creating new
expungement and reexamination proceedings before the United States Patent and             Coronavirus COVID-19
Trademark Office (USPTO) to more efficiently remove unused marks from the
registry.

For copyright owners, the legislation creates a new “Copyright Claims Board”
within the United States Copyright Office to adjudicate certain “small-claims”
copyright disputes rather than trying them in the courts. It also increases criminal
penalties for illegally streaming content, making certain streaming of copyrighted
content for profit a felony punishable by up to 10 years of imprisonment.

PRESUMPTION OF IRREPARABLE HARM IN TRADEMARK CASES

Effective immediately, the Act resolves a circuit split as to the standard for issuing
an injunction in trademark infringement, cybersquatting, and false advertising cases
brought under the Lanham Act. The legislation now confirms that the trademark
owner is entitled to a rebuttable presumption of irreparable harm when either (i) a
Lanham Act violation is found, or (ii) it has shown a likelihood of success of
prevailing on its claims in either a motion for a preliminary injunction or temporary
restraining order. This lowers the bar for obtaining an injunction in the Third, Ninth,
and Eleventh Circuits, each of which had rejected the common law rebuttable
presumption of irreparable harm in trademark suits in light of a 2006 U.S. Supreme
Court opinion in a patent case, eBay v. MercExchange, LLC, 547 U.S. 388 (2006).

ADDRESSING THE CHALLENGE OF TRADEMARK DEPLETION

Additionally, the legislation creates new ex parte procedures for removing
trademark registrations of marks that were not used in U.S. commerce. The primary
goal for these measures is to counter the concern of trademark depletion by
enabling fraudulent trademark filings and “deadwood” to be cleared from the
USPTO register, and we expect them to be cheaper and faster than the current
cancellation proceeding option. They will not be available, however, until December
27, 2021. Between now and then, the USPTO is required to promulgate
implementing regulations.

Expungement proceedings. Parties will be able to institute ex parte expungement
proceedings before the USPTO alleging that a registered mark has never been used
in connection with some or all of the goods and services listed in the registration.
Either a party can file a petition for expungement, or the Director of the USPTO can
institute a proceeding for expungement on its own initiative.

To be vulnerable to expungement, registrations must be at least 3 years old, but not
more than 10 years old. However, for the first 2 years after December 27, 2021 when
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the first expungement proceedings can be commenced, the#:1770
                                                        10 year old limitation
does not apply such that no registration is too old to be expunged.

Reexamination proceedings. Parties will also be able to institute reexamination
proceedings alleging that a registered mark was not in use at the time of its
application filing date for applications based on use, or at the time of its Allegation
of Use filing date for applications based on intent to use. As with the expungement
option, either a party can file a petition for reexamination or the Director can
independently institute a proceeding.

A registration challenged through the new reexamination proceeding must be no
more than 5 years old.

CHANGES TO COPYRIGHT LAW: THE CASE ACT AND FELONY STREAMING

In addition to its considerable impact on trademark law, the legislation also
significantly changes U.S. copyright law by creating a “small-claims” tribunal for
smaller copyright disputes and by making illegal streaming a felony in some cases.

Small-claims tribunal. Of greatest significance, the new law includes the Copyright
Alternative in Small-Claims Enforcement (CASE) Act, a piece of legislation several
years in the making. It provides for the creation of a “Copyright Claims Board,” a
small-claims tribunal within the U.S. Copyright Office tasked with adjudicating
smaller-scale claims of copyright infringement.

Under the CASE Act, copyright disputes may be referred to the new Copyright
Claims Board unless an accused infringer opts out. Such disputes would be heard
by a three-person panel comprised of copyright experts, known as “claims officers,”
rather than judges or juries. Awards for infringement for cases heard by a Copyright
Claims Board panel would be capped at $15,000 per infringed work (as opposed to
the current statutory limit of $150,000 per work), and $30,000 total for all of the
works infringed.

Proponents of the CASE Act say that the creation of an independent, “small-claims”
tribunal will create an affordable, efficient process for copyright owners to enforce
their rights, providing content owners an effective remedy for small-scale
infringement that does not require hiring a lawyer or pursuing a copyright
infringement suit in federal court. By creating a streamlined, lower-cost method of
settling low-dollar infringement claims, content owners may be better able to
enforce their copyrights when they might not otherwise have the means or
resources to do so.

The CASE Act is not without its critics, however. Opponents of the legislation,
including the American Civil Liberties Union and the Electronic Frontier Foundation,
argue that the CASE Act will make it easier for sophisticated copyright owners and
their attorneys to engage in profiteering or abusive practices to the detriment of
everyday internet users. Critics have also raised doubts as to the constitutionality of
creating a quasi-judicial tribunal within the Copyright Office, which is part of the
legislative branch.

Felonious streaming. In addition to the CASE Act, the COVID-19 omnibus relief act
also contains the Protecting Lawful Streaming Act (PLSA). This legislation ratchets
up penalties for illegal streaming of copyrighted works. Currently a misdemeanor,
the PLSA makes illegally streaming of copyrighted material for profit a felony
punishable by up to 10 years of imprisonment. In a statement, Senator Thom Tillis
argued that the PLSA was necessary because “[t]he shift toward streaming content
online has resulted in criminal streaming services illegally distributing copyrighted
material that costs the U.S. economy nearly $30 billion every year and discourages
the production of creative content.” The act is ostensibly tailored only to apply to
“commercial, for-profit streaming piracy services,” and proponents of the measure
have made clear that the relevant provisions are not intended to target individual
streamers. Nevertheless, critics are skeptical of the need for such legislation and
argue that the increased penalties could have a chilling effect on everyday internet
users.

For additional resources and information regarding the COVID-19 relief act, see the
Haynes and Boone alert available here. If you have additional questions about the
intellectual property implications of the legislation, please contact any of the
Haynes and Boone attorneys listed below.
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   PEOPLE




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TMA Amends the U.S. Trademark Act
03.03.21



The Trademark Modernization Act (TMA) amends the U.S. Trademark Act, or Lanham Act, in
several important ways, most notably shifting the burden of proving irreparable harm away from
trademark owners.

First, the TMA clarifies that a plaintiff seeking preliminary or permanent injunctive relief “shall be
entitled to a rebuttable presumption of irreparable harm” upon a finding of infringement or a
likelihood of success on an infringement claim. Since the U.S. Supreme Court’s decision in eBay,
Inc. v. MercExchange, 547 U.S. 388 (2006), federal appellate courts have been divided on whether
irreparable harm could be presumed (which was the general rule pre-eBay), or if the strict four
equitable factors commonly known as “the eBay factors” need to be weighed in each instance.

The TMA then goes one step further, noting that the newly recognized rebuttable presumption
“shall not be construed to mean that a plaintiff seeking an injunction was not entitled to a
presumption of irreparable harm before the date of the enactment of [the TMA].” H.R. 6196 § 6(b).
This provision of the TMA takes effect immediately.

Second, the TMA establishes two new USPTO procedures, effective December 27, 2021, to review
and cancel existing registrations for unused marks — namely, expungement and reexamination.
The USPTO has seen a dramatic increase in foreign applications using fraudulent specimens and
evidence of use, and it aims to use the new procedures to combat fraudulent marks.

Expungement is a process by which a registration can be challenged on the basis that a mark was
never properly used in commerce. Any person may submit a petition identifying a registration and
the specific goods or services, for which the petitioner alleges that the trademark has never been
used, between three and 10 years after the mark’s registration date, except for a single exception
wherein an expungement may be filed within three years of the TMA’s enactment for registrations
older than 10 years. The petitioner is required to (1) identify the registration, (2) identify the goods
or service that have never been used in commerce, (3) submit a verified statement summarizing
the reasonable investigation that led to the nonuse claim, (4) include any supporting evidence, and
(5) pay the requisite fee. This expedited expungement process provides an alternative to a
cancellation action before the Trademark Trial and Appeal Board or a district court.

If the expungement is instituted by the USPTO, the registrant will have an opportunity to submit
rebuttal evidence of use or excusable nonuse before an examiner decides whether a registration
should be cancelled for any or all goods and services. Any potential remaining challengers are
estopped from challenging a registration that is successfully defended.

Through reexamination, a challenger may request the removal of some or all goods or services in a
registration, provided that it can supply evidence that a mark is not in use in commerce on or before
a particular date, such as the filing date of a use-based application. The reexamination process is



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 similar to expungement in both filing requirements and ownership implications. Reexaminations can
 be filed within five years of mark’s registration and the same estoppel provision applies. Both
 reexaminations and expungements are appealable to the Trademark Trial and Appeal Board, and
 then the Federal Circuit.

 Third, the TMA allows for new processes in trademark prosecution before the U.S. Patent and
 Trademark Office. Third parties may now formally submit evidence into the record of an application
 if the evidence is related to a ground for refusal. It also provides for increased flexibility for
 examiners in setting response times to office actions. Examiners may now require a deadline
 shorter than six months, but it may be extended by the applicant up to a full six months. The TMA
 provides the USPTO a statutory basis for its longstanding “letter of protest” option, which allows
 third parties to submit evidence prior to examination summarizing why an examiner should refuse
 to register a mark. This is in contrast to reexamination and expungement, which challenge
 registered marks. Letters of protest must identify the legal grounds upon which the examiner can
 refuse registration or issue a requirement, include evidence that supports those grounds and a
 concise description of each piece of supporting evidence, and the party submitting the protest must
 pay the prescribed $50 fee. The USPTO then has two months to act on letters of protests. Any
 decision made on such letter of protest is final and nonreviewable. However, if a letter of protest is
 denied, the party that submitted it is still entitled to oppose the application, if it is published for
 opposition.

 In conclusion, trademark owners should take note of the TMA and pay close attention to the
 enacting regulations as it (1) provides trademark owners with an enlarged toolbox for challenging
 registrations, and (2) resolves a circuit split to make it easier to prove the irreparable harm
 necessary for a court to enjoin an infringement.



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 Related Practices and Industries


 Intellectual Property

 Trademark and Copyright




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CLIENT ALERT
Trademark Modernization Act of 2020 & 2021 USPTO Fee Changes

Jan.28.2021

The Trademark Modernization Act of 2020, signed into law on December 27, 2020, makes important changes to the Lanham Act
including (1) making it easier for a trademark owner who proves infringement to obtain injunctive relief in litigation, and (2)
establishing new procedures for challenging applications and registrations that may not meet United States Patent and
Trademark Office (“USPTO”) requirements relating to use in commerce.

With respect to litigation and effective immediately, the Act clarifies that a trademark owner will enjoy a rebuttable
presumption of irreparable harm upon a finding of trademark infringement, making it easier for the trademark owner to obtain
injunctive relief. This resolves confusion as to whether irreparable harm can be presumed, which stemmed from the U.S.
Supreme Court’s holding in eBay Inc. v. MercExchange, 547 U.S. 388 (2006). In eBay, the court held that a plaintiff who proves
patent infringement must, in order to obtain permanent injunctive relief, satisfy a traditional four-factor test that includes
demonstrating that it has suffered an irreparable injury. The Act now provides courts and litigants with clarity and makes clear
that, if a trademark owner proves infringement, then irreparable harm caused by continued infringement will be presumed. The
burden then shifts to the infringer to demonstrate the lack of irreparable harm.

In response to concerns regarding an increase in applications for and registrations of trademarks that are not actually in use in
U.S. commerce, the Act provides new procedures for challenging applications and registrations. These changes will assist
trademark users seeking to register their marks by providing additional methods to clear the register of unused “deadwood”
marks.

Effective one year after enactment of the Act, any third party may submit evidence during the trademark application process for
consideration by the USPTO, if the evidence is relevant to a ground for refusal of registration. Currently, third party objections
are possible only through a Letter of Protest or after the application is published for opposition. See Trademark Manual of
Examining Procedure §§ 1503, 1715.

Also effective one year after enactment of the Act, a third party may file a petition to the Director of the USPTO to (a) expunge a
registration after three years of registration on the ground that the mark has never been used in commerce on or in connection
with some or all of the goods or services specified in the registration, and/or (b) reexamine a registration any time, but no later
than five years after registration, on the ground that the registrant was not using the mark on or in connection with some or all
of the goods or services recited in the registration on or before the relevant date that the registrant alleged use of the mark. The
USPTO may also initiate an expungement or reexamination proceeding on its own if the Director discovers information that sets
forth a prima facie case.

Both expungement and reexamination require a petitioner to submit a verified statement that sets forth the elements of the
“reasonable investigation” the petitioner conducted to determine non-use and contain estoppel language that bars subsequent
challenges of a trademark with respect to the same goods and services once the registration has survived the same type of
challenge, regardless of the identity of the petitioner.

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USPTO Examining Attorneys will also have more flexibility in setting response times to office actions denying applications under
the Act, which could result in overall faster processing times. While applicants have historically had six months to respond to
office actions (15 U.S.C. § 1062(b)), once implementing regulations are issued, Examining Attorneys will be permitted to
prescribe shorter response times that are not less than sixty days. The Act requires the USPTO to issue regulations providing for
extensions of time to reply or amend aggregating six months and permits the USPTO to prescribe fees for extension requests.

The Act also requires the Comptroller General of the United States to conduct a study on the efforts of the USPTO Director to
address “inaccurate and false claims of use in trademark applications and registrations” and to submit a report to Congress by
December 27, 2023 on the results of such study of “decluttering initiatives,” including any recommendations for further changes
to laws and regulations to improve the integrity of the trademark register and reduce inaccurate and false claims of use based
on the results of the study.

Finally, and although not required by the Act, we note that the USPTO made routine updates to certain of its fees and added
new fees effective January 2, 2021, including the following:




                                                                                                                              2
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                               Application Related Fees

                                     Previous Fees                   New Fees

 TEAS Standard                 $275 per class                $350 per class

 TEAS Plus                     $225 per class                $250 per class

                                Post-Registration Fees

                                     Previous Fees                   New Fees

 Section 8 or 7 1              $125 per class                $225 per class
 declaration filed ttlro ugh
 TEAS

 NEW FEE: Deleting             $0                            $250 per class
 gioodls, services, and/or
 classes from a
 registration after
 sub mltingi □ section 8 or
 71 declaration. but
 before the declaration is
 O'CCepted.

                                       TTAB Fees

                                     Previous Fees                   New Fees

  Petition to Cancel           $ 400 per class               $ 600 per class

  Notice of Opposition         $ 400 per class               $ 600 per class

  NEW FEE: Requests for        $0                            $ 500 per proceeding
  oral hearing



A link to the summary of new fees can be found here.For more information, please contact the professional(s) listed below, or
your regular Crowell & Moring contact.

David Ervin
Partner – Washington, D.C.
Phone: +1 202.624.2622
Email: dervin@crowell.com

Deirdre Long Absolonne


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                                 #:1778


 FINNEGAN
                                                      INCONTESTABLE® BLOG

              A Practical Guide to the Trademark
                  Modernization Act of
                                                         February 16, 2021
                                                   By B. Brett Heavner; Yinfei Wu
                                                   Edited by Margaret A. Esquenet



 The Trademark Modernization of 2020 (“TMA”) became law on December 27, 2020. It should be fully implemented
 and take effect on December 27, 2021.

 The TMA amends the Lanham Act in three key aspects. First, it institutes new tools to remove USPTO trademark
 filings that are based on inaccurate claims of use in U.S. commerce. Second, the TMA provides for discretionary
 shortened response deadlines to office actions, authorizing Examining Attorneys to unclutter the federal register to
 eliminate applications that will ultimately be abandoned. Third, the TMA restores the rebuttable presumption of
 irreparable harm in jurisdictions that have dismissed it, increasing the brand owner’s chances of successfully
 obtaining injunctive relief.


 Tools to Remove Inaccurate Claims of Use in U.S. Commerce
 The TMA (A) provides for a broader and easier Letter of Protest system, (B) creates a streamlined expungement
 procedure, and (C) establishes new grounds for re-examination of a registration.

 Expanded Letters of Protest
 The current USPTO rules restrict Letters of Protest to issues of genericness, prior registrations, ongoing litigation,
 and examiner error in calculating Paris Convention priority. The rules do not provide a vehicle for addressing
 fraudulent specimens or non-use issues. The TMA expands the Letters of Protest to allow interested parties to
 submit evidence of a conflicting prior-registration and evidence that the applied-for mark is not actually in use for
 the goods or services identified in the application. In other words, brand owners will be able to use a Letter of
 Protest to submit evidence that relates to any ground on which an examiner can refuse registration under the
 Trademark Act.


 Ex Parte Expungement
 Section 16A of the TMA provides a new post-registration procedure for ex parte expungement of certain improperly
 granted registrations. Specifically, under this provision anyone can petition the USPTO to expunge a registration,
 either in whole or in part, where there are specific goods or services listed in the registration for which the
 trademark has never been used in U.S. commerce. To institute the expungement proceeding, the complaining
 party is merely required to supply evidence of a “reasonable investigation” showing that the registered mark was
 never used for the goods and services identified in the petition. The Director will then, upon finding of a prima
 facie case, provide notice to the registrant. Because the expungement proceeding can only be filed three years
 after issuance of the registration, when a presumption of abandonment arises, Congress clearly intended for the
 expungement proceedings to target registrations obtained through the Madrid Protocol and the Paris Convention.
  These international agreements are frequently used by foreign brand owners, so it is imperative to bear the three-
 year use deadline in mind when building their U.S. trademark portfolios. Of course, these registrants can always
 provide evidence showing use or that the non-use was due to special circumstances that should excuse such
 nonuse in an expungement proceeding.




 A Practical Guide to the Trademark Modernization Act of 2020 | Incont…   © 2021 Finnegan, Henderson, Farabow, Garrett & Dunner, LLP
                                                                                                                                       1
 Ex Parte Re-examination
Case  2:21-cv-02022-DOC-KES Document 28-3 Filed 03/29/21 Page 21 of 88 Page ID
 Under Section 16B, the TMA adds a new ground for invalidation of a registered mark that was not used in U.S.
          [1]
                                                    #:1779
 commerce for some or all of the goods or services listed in the registration as of the “relevant date” in the
 application process. This section of the TMA defines “relevant date” as any of the following:


   1. the filing date for an application in which the mark was claimed to have already been used in U.S. commerce,
   2. the filing date for an amendment claiming that the mark was currently in use in U.S. commerce, or
   3. the deadline by which a statement of use was due to be filed for applications originally filed based on an
      “intention to use” the mark in U.S. commerce.

 As with Section 16A, the USPTO can initiate re-examination proceedings upon receipt of a petition that is
 accompanied by a reasonable investigation showing that the mark was not used in U.S. commerce as of the
 “relevant date.” Because the filings on the “relevant dates” all include sworn statements that the marks were being
 used in U.S. commerce, the Section 16B proceedings are clearly meant to target registrations that were obtained
 through false statements. Although fraudulently obtained registrations are the obvious targets of these re-
 examination proceedings, they also apply to registrations that include innocent misstatements or
 misunderstandings about what is required for “use” in U.S. commerce. To avoid being a target for such proceeding,
 brand owners must be scrupulously accurate about any claims that its marks are being used in U.S. commerce.
 They must be sure that these claims of use are true for all the goods and services listed in the applications. In
 situations where some of the listed goods and services are not going to be offered in U.S. commerce, brand owners
 should delete such goods and services from any filings made on the “relevant dates.”

 Because the request for the re-examination/invalidation must be filed within the first five (5) years after the
 trademark registration issued, it is critical that the brand owner watch the federal register for problematic filings so
 that they do not miss this 5-year deadline.


 Discretionary Shortened Office Action Response Deadline
 Under the USPTO’s current practice, applicants must respond to issued Office Actions within six (6) months from the
 issuance date to avoid the abandonment of an application. Due to rising concerns regarding the proliferation of
 applications and registrations for trademarks that are not actually in use in U.S. commerce, the TMA now authorizes
 Examining Attorneys to set a much shorter response period, anywhere between two (2) months and six (6) months
 from the Office Action issuance date. We expect that if the issues raised in Office Actions may be resolved fairly
 quickly, such as identification amendment and mark description requirements, a discretionary shortened deadline
 will be triggered. If needed, the applicant may request to extend the shortened response deadline.

 This new rule is intended to help unclutter the register, clearing the way for legitimate trademark users waiting in
 line to obtain registration of their marks. Brand owners must pay attention to each response deadline upon receipt
 of an Office Action, as we may start seeing much shorter response periods than the accustomed 6-month period.


 Restoration of Presumption of Irreparable Harm
 Courts require that brand owners seeking an injunction against an infringer must prove that it will be “irreparably
 harmed” if the infringer is not enjoined from further use of the infringing mark. Before the TMA, there was a circuit
 split on the standard for injunctive relief in trademark infringement cases following the U.S. Supreme Court’s ruling
 in eBay Inc. v. MercExchange. 547 U.S. 388 (2006). eBay eliminated a similar presumption of irreparable harm in
 patent cases. In trademark cases decided since eBay, circuit courts have been inconsistent on whether eBay
 should also apply to trademark infringement cases where injunctive relief was sought, or whether the four equitable
 factors for obtaining an injunction should be weighed in each case. The split encouraged forum shopping and
 undermined the consumer protection purposes of the Lanham Act.


 The TMA now clarifies that a nationwide uniform standard of presumption of irreparable harm should be applied in
 trademark cases, reducing the evidentiary burden on brand owners for obtaining injunctive relief to protect their
 trademark rights. Accordingly, a brand owner who proves infringement will enjoy a legal presumption that the harm
 caused by continued infringement will be irreparable.




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 Citation: The Trademark Modernization Act of 2020 as incorporated in Consolidated Appropriations Act,
Case  2:21-cv-02022-DOC-KES Document 28-3 Filed 03/29/21 Page 22 of 88 Page ID
 2021 (Public Law 116-260, Subtitle B, Section 221).
                                                     #:1780




 [1] Importantly, the TMA expressly provides that Congress is not altering the standards for use in commerce. For
 standards of trademark use in U.S. commerce, more at https://www.finnegan.com/en/insights/articles/use-in-
 commerce-problems-in-u-s-trademark-cases.html.



 Tags
 Trademark Trial and Appeal Board (TTAB), United States Patent and Trademark Office (USPTO), Trademark
 Modernization Act



 Related Practices
 Trademark
 TTAB Litigation



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                                                                                                                                       4
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                               Exhibit C
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                                                            #:1783

ThorCheck Report
First Goods and Services
vitamins [005]; vitamin supplements [005]; vitamin and mineral supplements [005]; vitamin preparations [005]; liquid vitamin supplements [005]

Second Goods and Services
non-medicated skin care preparations [003]; cosmetic creams for skin care [003]; cosmetic preparations for skin care [003]; non-medicated skin care creams and
lotions [003]; medicated skin care preparations [005]; wrinkle removing skin care preparations [003]

Evidence
Dissimilarity

Filing Basis
Use-based 1(a) registrations

Jurisdiction
US


03/23/2021 04:56 AM CDT



         Owner                  Goods/Services       Mark                         Mark                         Goods/Services       Owner

         NATURAL                005                  REGENERATION                 REGENERATION                 003                  YOUNGEVITY
         ORGANICS, INC.         dietary food         Reg: 1530521                 Reg: 1853990                 skin moisturizing    INTERNATIONAL,
                                supplement           Serial: 73745131             Serial: 74385184             creams and lotions   INC.


                                                     Registered And Renewed       Registered And Renewed
                                                     Reg: 03/21/1989              Reg: 09/13/1994
                                                     Filed: 08/10/1988            Filed: 04/21/1993


         NATURE'S WAY           005                  SELF DEFENSE                 SELF DEFENSE                 003                  PHYSICIANS
                                                                                J                            J                      J
                                                                                 1
                    Case 2:21-cv-02022-DOC-KES Document 28-3 Filed 03/29/21 Page 26 of 88 Page ID
                                                     #:1784
I
    PRODUCTS, LLC         vitamins and              Reg: 1585281                 Reg: 2475987                    skin moisturizing       FORMULA INC
                          nutritional dietary       Serial: 73802817             Serial: 75066698                lotion
                          supplements
                                                    Registered And Renewed       Registered And Renewed
                                                    Reg: 03/06/1990              Reg: 08/07/2001
                                                    Filed: 05/26/1989            Filed: 03/04/1996

I                     I                         I                            I                               I                       I                        I
    PROVIMI NORTH         005                       VELVET                       VELVET                          003                     Shearer, Jeannie
    AMERICA, INC.         vitamin and               Reg: 1213773                 Reg: 5408713                    cosmetics
                          mineral                   Serial: 73322934             Serial: 87286895
                          supplement for
                          horses                    Registered And Renewed       Registered
                                                    Reg: 10/26/1982              Reg: 02/20/2018
                                                    Filed: 08/10/1981            Filed: 01/02/2017




                                                                                 ~
I                     I                         I                            I                               I                       I                        I
    SOCIETE DES           005                       BOOST                        BOOST                           003                     G.I. Skincare, LLC
    PRODUITS              vitamin                   Reg: 1333938                 Reg: 4205913                    non-medicated
    NESTLE, S.A.          supplements               Serial: 73472470             Serial: 85538387                skin care
                                                                                                                 preparations
                                                    Registered And Renewed       Section 8 & 15 - Accepted
                                                    Reg: 05/07/1985              And Acknowledged
                                                    Filed: 03/27/1984            Reg: 09/11/2012
                                                                                 Filed: 02/09/2012
I                     -                         -                            -                               -                       -




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                   Case 2:21-cv-02022-DOC-KES Document 28-3 Filed 03/29/21 Page 27 of 88 Page ID
                                                    #:1785




J. Desert Bloom,      005            DESERT BLOOM             DESERT BLOOM             003                 ARUBA ALOE
L.L.C.                dietary food   Reg: 2704542             Reg: 3854579             skin conditioners   BALM N.V.
                      supplement     Serial: 76434129         Serial: 77740360


                                     Registered And Renewed   Registered And Renewed
                                     Reg: 04/08/2003          Reg: 09/28/2010
                                     Filed: 07/25/2002        Filed: 05/19/2009

FLUIDITY              005            FLUIDITY                 FLUIDITY                 003                 Morphe, LLC
ENTERPRISES,          vitamin        Reg: 3433409             Reg: 5710766             cosmetics
INC.                  supplements    Serial: 78980034         Serial: 87635717


                                     Registered And Renewed   Registered
                                     Reg: 05/20/2008          Reg: 03/26/2019
                                     Filed: 08/05/2005        Filed: 10/05/2017

QOL Labs, LLC         005            VITAGEN                  VITAGEN                  003                 Starkey Medical P.C.
                      dietary        Reg: 4822568             Reg: 4794468             cosmetic creams
                      supplements    Serial: 85940481         Serial: 86496362         for skin care


                                     Registered               Registered
                                     Reg: 09/29/2015          Reg: 08/18/2015
                                     Filed: 05/23/2013        Filed: 01/06/2015

Bio Essence           005            BIO ESSENCE              BIO ESSENCE              003                 Gambuzza, Frank


                                                              3
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                                                      #:1786
I
    Corporation              dietary and              Reg: 3893247                    Reg: 1891584                 gels
                             nutritional              Serial: 85026225                Serial: 74373950
                             supplements
                                                      Section 8 - Accepted            Registered And Renewed
                                                      Reg: 12/21/2010                 Reg: 04/25/1995
                                                      Filed: 04/29/2010               Filed: 03/31/1993

I                        I                        I                               I                            I                          I                         I
    I Am Products, LLC       005                      I AM HAPPY                      I AM HAPPY                   003                        Ya Ya Ventures,
                             nutritional              Reg: 3946260                    Reg: 5345391                 skin cream                 LLC
                             supplements in the       Serial: 85064914                Serial: 87405230                                        DBA Leona Made
                             nature of vitamin,
                             mineral, and herb        Section 8 & 15 - Accepted       Registered
                             drinks                   And Acknowledged                Reg: 11/28/2017
                                                      Reg: 04/12/2011                 Filed: 04/10/2017
                                                      Filed: 06/16/2010

I                        I                        I                               I                            I                          I                         I
    MONEYMAKER               005                      JUPITER                         JUPITER                      003                        ZERO FLAKES
    GLOBAL, S.A. DE          dietary                  Reg: 4447620                    Reg: 5886903                 non-medicated              GIVEN, LLC
    C.V.                     supplements              Serial: 85916048                Serial: 88195048             preparations all for
                                                                                                                   the care of skin,
                                                      Section 8 & 15 - Accepted       Registered                   hair and scalp
                                                      And Acknowledged                Reg: 10/15/2019
                                                      Reg: 12/10/2013                 Filed: 11/15/2018
                                                      Filed: 04/26/2013

I                        I                        I                               I                            I                          I                         I
    North American           005                      NATURAL WORLD                   NATURAL WORLD                003                        Calpers Investments
    Solutions, Inc           vitamin and              Disclaims: "NATURAL"            Disclaims: "NATURAL"         cosmetics                  Limited
    DBA NASCO                mineral                  Reg: 4387052                    Reg: 5156458
                             supplements              Serial: 85767435                Serial: 86152546


                                                      Section 8 - Accepted            Registered
                                                      Reg: 08/20/2013                 Reg: 03/07/2017
I                        -                        -                               -                            -                          -
                                                                                      4
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                                                   #:1787
                                    Filed: 10/30/2012           Filed: 12/26/2013



                                        ,NATURAL_\'{_ORLD
                                     , '1




Smashtech, LLC        005           SUPER YOUTH                 SUPER YOUTH         003               Yalmeh, Inc
                      dietary       Reg: 5657564                Reg: 4875222        body and beauty
                      supplements   Serial: 87747018            Serial: 86306633    care cosmetics


                                    Registered                  Registered
                                    Reg: 01/15/2019             Reg: 12/22/2015
                                    Filed: 01/08/2018           Filed: 06/11/2014



                                    SUPER
                                    YOUTH

USA Nutraceuticals    005           PREDATOR                    PREDATOR            003               AMAVARA, INC.
Group, Inc.           dietary and   Reg: 3913007                Reg: 5004668        cosmetics
                      nutritional   Serial: 77911886            Serial: 86636945
                      supplements
                                    Section 8 & 15 - Accepted   Registered
                                    And Acknowledged            Reg: 07/19/2016
                                    Reg: 02/01/2011             Filed: 05/20/2015
                                    Filed: 01/14/2010

Market America,
                     J005           BLISS
                                    J
                                                                BLISS
                                                                J
                                                                                    003
                                                                                    J
                                                                                                      BLISS PRODUCTS
                                                                                                      J
                                                                5
                Case 2:21-cv-02022-DOC-KES Document 28-3 Filed 03/29/21 Page 30 of 88 Page ID
                                                 #:1788
Inc.                  dietary and           Reg: 3222681                 Reg: 3324627             cosmetics        HOLDINGS LLC
                      nutritional           Serial: 78894043             Serial: 78954155
                      supplements
                                            Registered And Renewed       Registered And Renewed
                                            Reg: 03/27/2007              Reg: 10/30/2007
                                            Filed: 05/26/2006            Filed: 08/17/2006




                      l~------,,1
                                                                     I
Dong-A                005                   BACCHUS                      BACCHUS                  003              Speros Pavlatos
Pharmaceutical Co.,   nutritional vitamin   Reg: 2625108                 Reg: 4544144             skin cleansing
Ltd.                  drink                 Serial: 78064352             Serial: 85705809         lotion


                                            Registered And Renewed       Registered
                                            Reg: 09/24/2002              Reg: 06/03/2014
                                            Filed: 05/18/2001            Filed: 08/16/2012




                      l~------,,1
                                                                     I
GRENADE (UK)          005                   GRENADE                      GRENADE                  003              GRENADE 2.0, LLC
LIMITED               dietary supplement    Reg: 2886209                 Reg: 5041836             skin cleansers
                                            Serial: 78092637             Serial: 86462714


                                            Registered And Renewed       Registered

                                                                         6
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                                                #:1789
                                         Reg: 09/21/2004          Reg: 09/13/2016
                                         Filed: 11/09/2001        Filed: 11/24/2014




                                                                       ®
                                                                  GRENADE



The TapeMark      005                    TM                       TM                          003               Tracie Martyn
Company           topical delivery       Reg: 3181506             Reg: 4035209                non-medicated     International LLC
                  agents, namely,        Serial: 78309905         Serial: 77125836            skin care
                  transdermal drug                                                            preparations
                  delivery patches,      Registered And Renewed   Section 8 - Accepted
                  soluble films, and     Reg: 12/05/2006          Reg: 10/04/2011
                  hydrogel patches       Filed: 10/06/2003        Filed: 03/08/2007
                  for providing
                  controlled or
                  continuous release
                  of a drug, vitamins,
                  or therapeutic
                  agents sold as a
                  component of
                  pharmaceutical
                  preparations

INE ACQUISITION   005                    KONA GOLD                KONA GOLD                   003               James, Michael
SUB, LLC          vitamins and           Disclaims: "KONA"        Disclaims: "KONA"           cosmetic creams   Whitley
                  nutritional            Reg: 3054296             Reg: 4556173                for skin care     DBA Kona Gold
                  supplements            Serial: 78546889         Serial: 85109850


                                         Registered And Renewed   Section 8 & 15 - Accepted


                                                                  7
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                                                      #:1790
                                               Reg: 01/31/2006          And Acknowledged
                                               Filed: 01/13/2005        Reg: 06/24/2014
                                                                        Filed: 08/17/2010

I                        I                 I                                                                                              I
    Karuna Corporation       005               KARUNA                   KARUNA                   003                   KARUNA SKIN, LLC
                             nutritional       Reg: 2964252             Reg: 3667684             skin and body
                             supplements       Serial: 78424356         Serial: 77546412         topical lotions,
                                                                                                 creams and oils for
                                               Registered And Renewed   Registered And Renewed   cosmetic use
                                               Reg: 06/28/2005          Reg: 08/11/2009
                                               Filed: 05/25/2004        Filed: 08/13/2008

I                        I                 I                                                                                              I
    Metabolic                005               BAM                      BAM                      003                   BAM BEAUTY BAR
    Maintenance              nutritional       Reg: 2340565             Reg: 5564145             cosmetics             LLC
    Products, Inc.           supplement        Serial: 75620639         Serial: 87708172


                                               Registered And Renewed   Registered
                                               Reg: 04/11/2000          Reg: 09/18/2018
                                               Filed: 01/13/1999        Filed: 12/05/2017

I                        I                 I                                                                                              I
    NEW EARTH LIFE           005               ENERGY FOR LIFE          ENERGY FOR LIFE          003                   NU SCENTS
    SCIENCES, INC.           nutritional       Reg: 2091189             Reg: 5576011             cosmetics             TRADING INC
                             supplements       Serial: 75158689         Serial: 87919073


                                               Registered And Renewed   Registered
                                               Reg: 08/26/1997          Reg: 10/02/2018
                                               Filed: 08/30/1996        Filed: 05/13/2018

I                        I                 I                                                                                              I
    HERBS, ETC., INC.        005               DEEP SLEEP               DEEP SLEEP               003                   TWP IP Limited
                             herbal            Reg: 2190527             Reg: 5553285             non-medicated
                             supplements       Serial: 75271101         Serial: 87580285         skin care
                                                                                                 preparations
I                        -                 -

                                                                        8
               Case 2:21-cv-02022-DOC-KES Document 28-3 Filed 03/29/21 Page 33 of 88 Page ID
                                                #:1791
                                   Registered And Renewed   Registered
                                   Reg: 09/22/1998          Reg: 09/04/2018
                                   Filed: 04/04/1997        Filed: 08/23/2017

WEIGHT               005           BENEFIT                  BENEFIT                  003         BENEFIT
MANAGEMENT           dietary       Reg: 1781038             Reg: 2799579             cosmetics   COSMETICS LLC
SERVICES CORP.       supplements   Serial: 74296571         Serial: 75778774


                                   Registered And Renewed   Registered And Renewed
                                   Reg: 07/13/1993          Reg: 12/30/2003
                                   Filed: 07/22/1992        Filed: 08/18/1999


Endurance Products   005           EP                       EP                       003         ISIDRO CHAVEZ
Company              dietary       Reg: 2279311             Reg: 4334544             cosmetics   ESPINOZA
                     supplements   Serial: 75530089         Serial: 85732583


                                   Registered And Renewed   Section 8 - Accepted
                                   Reg: 09/21/1999          Reg: 05/14/2013
                                   Filed: 08/03/1998        Filed: 09/19/2012




Pomerantz,Steven     005           GOOD VIBES               GOOD VIBES               005         BARNABY LTD
A.                   nutritional   Reg: 5204321             Reg: 3018459             gel         DBA GOOD
                     supplements   Serial: 87190520         Serial: 78244136                     VIBRATIONS


                                   Registered               Registered And Renewed
                                   Reg: 05/16/2017          Reg: 11/22/2005


                                                            9
              Case 2:21-cv-02022-DOC-KES Document 28-3 Filed 03/29/21 Page 34 of 88 Page ID
                                               #:1792
                                Filed: 10/01/2016    Filed: 04/30/2003


                                   (i@@d
                                      VIBE

Redcon1          005            MRE                  MRE                      003                Minerva RoyalT
                 dietary and    Reg: 5900914         Reg: 5449361             cosmetics          Enterprises, LLC
                 nutritional    Serial: 88240066     Serial: 87211801
                 supplements
                                Registered           Registered
                                Reg: 11/05/2019      Reg: 04/17/2018
                                Filed: 12/22/2018    Filed: 10/21/2016




Bunch, John      005            SNOW WHITE           SNOW WHITE               003                Disney Enterprises,
                 nutritional    Reg: 6212912         Reg: 3800655             cosmetics          Inc.
                 supplements    Serial: 88787652     Serial: 77693179


                                Registered           Registered And Renewed
                                Reg: 12/01/2020      Reg: 06/08/2010
                                Filed: 02/06/2020    Filed: 03/17/2009

SANTANA          005            8 DAYS A WEEK        8 DAYS A WEEK            003                HC SALON BRAND
MUNGUIA,        jdietary       jReg: 6130209        jReg: 5303204             j
                                                                              skin, face, hand   j
                                                                                                 HOLDINGS, LLC


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                   Case 2:21-cv-02022-DOC-KES Document 28-3 Filed 03/29/21 Page 35 of 88 Page ID
                                                    #:1793
ARTURO NOE               supplements             Serial: 88789430             Serial: 87195311        and body oils,
                                                                                                      creams, milks,
                                                 Registered                   Registered              lotions, gels and
                                                 Reg: 08/18/2020              Reg: 10/03/2017         powders for
                                                 Filed: 02/07/2020            Filed: 10/06/2016       cosmetic purposes

                     I                       I                            I                       I
Parkers Pet              005                     BLOSSOM                      BLOSSOM                 003                 FANTASY FILES,
Provisions, Inc.         vitamins for pets       Reg: 5765838                 Reg: 4988593            cosmetics           LLC
                                                 Serial: 88127224             Serial: 86815805


                                                 Registered                   Registered
                                                 Reg: 05/28/2019              Reg: 06/28/2016
                                                 Filed: 09/21/2018            Filed: 11/10/2015

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AnazaoHealth             005                     ZAO                          ZAO                     003                 COSM'ETIKA
Corporation              dietary and             Reg: 3632082                 Reg: 6017201            cosmetics           FRANCE
                         nutritional             Serial: 77217246             Serial: 88516616
                         supplements
                                                 Registered And Renewed       Registered
                                                 Reg: 06/02/2009              Reg: 03/24/2020
                                                 Filed: 06/27/2007            Filed: 07/16/2019

                     I                       I                            I                       I
ASHLEY CONRAD,           005                     CLUTCH                       CLUTCH                  003                 Abercrombie & Fitch
INC.                     dietary                 Reg: 3281676                 Reg: 5459749            non-medicated       Trading Co.
DBA CLUTCH               supplements             Serial: 77030488             Serial: 87138857        skin care
BODYSHOP                                                                                              preparations
                                                 Registered And Renewed       Registered
                                                 Reg: 08/21/2007              Reg: 05/01/2018
                                                 Filed: 10/26/2006            Filed: 08/15/2016

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Theralogix LLC           005                     ESSENTIA                     ESSENTIA                003                 ENVIRON SKIN
                     j   dietary             j   Reg: 4211960             j   Reg: 4356111        j   cosmetics           j
                                                                                                                          CARE


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                 Case 2:21-cv-02022-DOC-KES Document 28-3 Filed 03/29/21 Page 36 of 88 Page ID
                                                  #:1794
                    supplements           Serial: 77920011             Serial: 85183753                              (PROPRIETARY)
                                                                                                                     LIMITED
                                          Section 8 & 15 - Accepted    Section 8 & 15 - Accepted
                                          And Acknowledged             And Acknowledged
                                          Reg: 09/25/2012              Reg: 06/25/2013
                                          Filed: 01/26/2010            Filed: 11/23/2010

LIFE ON EARTH,      005                   JUST CHILL                   JUST CHILL                  003               Kantor, Crissy
INC.                functional            Reg: 3958687                 Reg: 5625152                body and beauty
                    beverages,            Serial: 77817009             Serial: 87479219            care cosmetics
                    namely,
                    nutritionally         Section 8 & 15 - Accepted    Registered
                    fortified beverages   And Acknowledged             Reg: 12/11/2018
                    featuring             Reg: 05/10/2011              Filed: 06/07/2017
                    ingredients that      Filed: 08/31/2009
                    help the user
                    relax, including
                    amino acids,
                                                                       a4chill
                    botanical extracts,
                    and vitamins and
                    minerals

4Life Trademarks,   005                   TF                           TF                          003               Thomas C. Ford
LLC                 nutritional           Reg: 4027443                 Reg: 6085750                non-medicated
                    supplements           Serial: 77821727             Serial: 88717867            skin care
                                          2(f) claim                                               preparations
                                                                       Registered
                                          Section 8 & 15 - Accepted    Reg: 06/23/2020
                                          And Acknowledged             Filed: 12/06/2019
                                          Reg: 09/20/2011
                                          Filed: 09/08/2009



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MACROSERVE          005                  HD                        HD                     003             Hansderma, Inc.
PTE. LTD.           dietary and          Reg: 3594176              Reg: 5128748           non-medicated
                    nutritional          Serial: 77473806          Serial: 87076992       skin care
                    supplements                                                           preparations
                                         Registered And Renewed    Registered
                                         Reg: 03/24/2009           Reg: 01/24/2017
                                         Filed: 05/14/2008         Filed: 06/20/2016




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BKK                 005                  DUET                      DUET                   003             Deborah Lippmann
PHARMACEUTICA       vitamins             Reg: 2754166              Reg: 4686602           cosmetics       LLC
LS, LLC                                  Serial: 76370416          Serial: 85665510


                                         Registered And Renewed    Section 8 - Accepted
                                         Reg: 08/19/2003           Reg: 02/17/2015
                                         Filed: 02/13/2002         Filed: 06/29/2012

Nature's Sunshine   005                  PERFECT EYES              PERFECT EYES           003             TOO FACED
Products, Inc.      dietary supplement   Disclaims: "EYES"         Disclaims: "EYES"      cosmetics       COSMETICS, LLC
                                         Reg: 2767862              Reg: 4108394           j               j
                                                                  13
                     Case 2:21-cv-02022-DOC-KES Document 28-3 Filed 03/29/21 Page 38 of 88 Page ID
                                                      #:1796
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                                                  Serial: 76385775             Serial: 85365412


                                                  Registered And Renewed       Section 8 & 15 - Accepted
                                                  Reg: 09/23/2003              And Acknowledged
                                                  Filed: 03/21/2002            Reg: 03/06/2012
                                                                               Filed: 07/07/2011

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    S.A.N Corporation       005                   FIERCE                       FIERCE                          003                    Abercrombie & Fitch
                            dietary               Reg: 3821921                 Reg: 6029487                    non-medicated          Trading Co.
                            supplements and       Serial: 78849450             Serial: 87138862                skin care
                            vitamins                                                                           preparations
                                                  Registered And Renewed       Registered
                                                  Reg: 07/20/2010              Reg: 04/07/2020
                                                  Filed: 03/29/2006            Filed: 08/15/2016

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    DISRUPTIVE              005                   URBAN DETOX                  URBAN DETOX                     003                    GUERLAIN
    BEVERAGES, INC.         dietary               Disclaims: "DETOX"           Disclaims: "DETOX"              skin lotion
                            supplemental          Reg: 3291025                 Reg: 1797456
                            drinks                Serial: 78959610             Serial: 74344862


                                                  Registered And Renewed       Registered And Renewed
                                                  Reg: 09/11/2007              Reg: 10/12/1993
                                                  Filed: 08/24/2006            Filed: 12/31/1992

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    LIFE NUTRITION          005                   LIFE                         LIFE                            003                    Goveia, Katharine J
    INTERNATIONAL           dietary and           Reg: 4169934                 Reg: 4086266                    cosmetic               DBA Life Skin Care
    COMPANY LIM             nutritional           Serial: 85120448             Serial: 85165739                preparations for
                            supplements                                                                        skin care
                                                  Section 8 - Accepted         Section 8 & 15 - Accepted
                                                  Reg: 07/10/2012              And Acknowledged
                                                  Filed: 09/01/2010            Reg: 01/17/2012
                                                                               Filed: 10/31/2010
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                     Case 2:21-cv-02022-DOC-KES Document 28-3 Filed 03/29/21 Page 39 of 88 Page ID
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J.R. Carlson            005            ECOSMART                ECOSMART                 003                 Kittrich Corporation
Laboratories, Inc.      dietary and    Reg: 4160676            Reg: 5356712             non-medicated
                        nutritional    Serial: 85450591        Serial: 87976132         skin balms and
                        supplements                                                     skin care
                                       Section 8 - Accepted    Registered               preparations for
                                       Reg: 06/19/2012         Reg: 12/12/2017          pets
                                       Filed: 10/19/2011       Filed: 08/01/2016

Legendairy Milk,        005            LIQUID GOLD             LIQUID GOLD              003                 Liquid Gold Hair
LLC                     vitamins       Disclaims: "LIQUID"     Reg: 4706136             non-medicated       Products, Inc
                                       Reg: 5255084            Serial: 85842963         hair restoration
                                       Serial: 87258786                                 lotions
                                                               Registered
                                       Registered              Reg: 03/24/2015
                                       Reg: 08/01/2017         Filed: 02/06/2013
                                       Filed: 12/06/2016

RIFT Fit                005            RF                      RF                       005                 RODAN & FIELDS,
                        nutritional    Reg: 5275413            Reg: 2762612             medicated skin      LLC
                        supplements    Serial: 87294144        Serial: 76368027         care preparations


                                       Registered              Registered And Renewed
                                       Reg: 08/29/2017         Reg: 09/09/2003
                                       Filed: 01/09/2017       Filed: 02/08/2002



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Retail Exclusive        005            REDRUM               REDRUM              003            Jeffree Star
Distribution, Inc.      dietary and    Reg: 5618514         Reg: 5700769        cosmetics      Cosmetics, Inc.
                        nutritional    Serial: 87571330     Serial: 87766856
                        supplements
                                       Registered           Registered
                                       Reg: 11/27/2018      Reg: 03/19/2019
                                       Filed: 08/16/2017    Filed: 01/23/2018




                                                            REDflUM

HI-TECH                 005            WICKED               WICKED              003            L'OREAL USA
PHARMACEUTICA           dietary and    Reg: 5300279         Reg: 4918759        cosmetics      CREATIVE, INC.
LS, INC.                nutritional    Serial: 87340644     Serial: 86281383
                        supplements
                                       Registered           Registered
                                       Reg: 10/03/2017      Reg: 03/15/2016
                                       Filed: 02/17/2017    Filed: 05/14/2014




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Threshold             005            SE                   SE                       003         Super-e TRADE INC
Enterprises Ltd       dietary        Reg: 5306681         Reg: 6269219             cosmetics
                      supplements    Serial: 87412267     Serial: 88469376


                                     Registered           Registered
                                     Reg: 10/10/2017      Reg: 02/16/2021
                                     Filed: 04/14/2017    Filed: 06/12/2019




Whole Nutri Inc.      005            QI                   QI                       003         Dragon Full
                      dietary and    Reg: 5306027         Reg: 3104460             cosmetics   Developments
                      nutritional    Serial: 87362590     Serial: 76599899                     Limited
                      supplements
                                     Registered           Registered And Renewed
                                     Reg: 10/10/2017      Reg: 06/13/2006
                                     Filed: 03/08/2017    Filed: 06/30/2004




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    Key Nutrients         005                LIGHTS OUT               LIGHTS OUT              003                   STUDIO 1872
                          dietary and        Reg: 5921416             Reg: 5909974            cosmetic creams       DBA STUDIO 1872
                          nutritional        Serial: 87541652         Serial: 88150020
                          supplements
                                             Registered               Registered
                                             Reg: 11/26/2019          Reg: 11/12/2019
                                             Filed: 07/25/2017        Filed: 10/10/2018

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    Xenuro LLC            005                SLEEP IT OFF             SLEEP IT OFF            003                   Clarity Clinical Skin
                          dietary and        Disclaims: "SLEEP"       Reg: 4948032            cosmetic creams       Care, Inc.
                          nutritional        Reg: 5495376             Serial: 86696839
                          supplements        Serial: 87450982
                                                                      Registered
                                             Registered               Reg: 04/26/2016
                                             Reg: 06/19/2018          Filed: 07/17/2015
                                             Filed: 05/16/2017

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    SHENZHEN              005                KFIAQ                    KFIAQ                   003                   DONGLIANG, LEI
    HANZHENGYUAN          vitamin            Reg: 5355084             Reg: 5355076            cosmetics
    TECHNOLOGY            preparations       Serial: 87454963         Serial: 87454847
    CO., LTD.
                                             Registered               Registered
                                             Reg: 12/12/2017          Reg: 12/12/2017
                                             Filed: 05/18/2017        Filed: 05/18/2017
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                                                  #:1801
LXR Biotech, LLC     005           EE                   EE                       003             EVEDARE
                     dietary       Reg: 5288429         Reg: 5762804             non-medicated   INTERNATIONAL
                     supplements   Serial: 85434448     Serial: 88159264         skin serums     CO., LTD.


                                   Registered           Registered
                                   Reg: 09/19/2017      Reg: 05/28/2019
                                   Filed: 09/28/2011    Filed: 10/17/2018




ATHLETIC             005           AA                   AA                       003             Arbonne
ALLIANCE SPORT       dietary and   Reg: 4708105         Reg: 3452663             cosmetics       International, LLC
SUPPLEMENTS          nutritional   Serial: 86362866     Serial: 77272595
INCORPORATED         supplements
                                   Registered           Registered And Renewed
                                   Reg: 03/24/2015      Reg: 06/24/2008
                                   Filed: 08/11/2014    Filed: 09/05/2007




Juuva Enterprises,   005           LIVE                 LIVE                     003             Richard Purvis
Inc.                 nutritional   Reg: 4978716         Reg: 4743691             non-medicated
                     supplements   Serial: 86375281     Serial: 86437794         skin care
                                                                                 preparations

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                                                    #:1802
                                     Registered              Registered
                                     Reg: 06/14/2016         Reg: 05/26/2015
                                     Filed: 08/22/2014       Filed: 10/29/2014




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                                                         I
6805124 CANADA        005            SILVERLINING            SILVERLINING        003                NGUYEN, TUONG
INC.                  dietary and    Reg: 5107348            Reg: 4843941        cosmetic
                      nutritional    Serial: 86376555        Serial: 86376534    preparations for
                      supplements                                                skin care
                                     Registered              Registered
                                     Reg: 12/27/2016         Reg: 11/03/2015
                                     Filed: 08/25/2014       Filed: 08/25/2014



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Sergio Fernando       005            IN                      IN                  003                ILILEWA
Siqueira Martins      dietary        Reg: 4844150            Reg: 5577217        body and beauty    MANUFACTURING
Vieira                supplements    Serial: 86431730        Serial: 87665541    care cosmetics     LLC


                                     Registered              Registered
                                     Reg: 11/03/2015         Reg: 10/02/2018
                                     Filed: 10/22/2014       Filed: 10/30/2017



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                                                    #:1803


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Boom Nutrition, Inc.   005           BOOM!                        BOOM!               003           Boom! By Cindy
                       dietary and   Reg: 4617597                 Reg: 5625436        cosmetics     Joseph Ltd.
                       nutritional   Serial: 86222054             Serial: 87654940
                       supplements
                                     Section 8 & 15 - Accepted    Registered
                                     And Acknowledged             Reg: 12/11/2018
                                     Reg: 10/07/2014              Filed: 10/22/2017
                                     Filed: 03/14/2014




STC                    005           STC                          STC                 003           Foshan Niu Mei
Pharmaceuticals,       dietary and   Reg: 4828024                 Reg: 6179288        skin toners   Health Technology
Inc.                   nutritional   Serial: 86266941             Serial: 88863791                  Co., Ltd.
                       supplements
                                     Registered                   Registered
                                     Reg: 10/06/2015              Reg: 10/20/2020
                                     Filed: 04/30/2014            Filed: 04/08/2020




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RICH RECOVERY       005            RR                   RR                  003            Model Next Door
LABS INC.           nutritional    Reg: 5028252         Reg: 5182128        cosmetics      Beauty, LLC
                    supplements    Serial: 86658476     Serial: 86539496


                                   Registered           Registered
                                   Reg: 08/23/2016      Reg: 04/11/2017
                                   Filed: 06/10/2015    Filed: 02/19/2015




Jared R. Wheat      005            HELLFIRE             HELLFIRE            003            Tish & Snooky's
                    dietary and    Reg: 5110641         Reg: 5132835        cosmetics      N.Y.C. Inc.
                    nutritional    Serial: 86673324     Serial: 87070081
                    supplements
                                   Registered           Registered
                                   Reg: 12/27/2016      Reg: 01/31/2017
                                   Filed: 06/24/2015    Filed: 06/14/2016

CHOWDHURY,          005            ALPHA                ALPHA               003            Neoteric Cosmetics,
OMAR FARUK          dietary and
                    nutritional
                                   Reg: 5029861
                                   Serial: 86683181
                                                        Reg: 4947925
                                                        Serial: 86649912    j_j__
                                                                            cosmetics,
                                                                            namely, skin
                                                                                           Inc.



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                                                    #:1805
                      supplements                                                       creams, skin
                                     Registered                Registered               lotions, face and
                                     Reg: 08/30/2016           Reg: 04/26/2016          body washes, and
                                     Filed: 07/04/2015         Filed: 06/03/2015        under eye
                                                                                        treatments


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All American          005            AMERICA'S PRIDE           AMERICA'S PRIDE          003                 AFAM CONCEPT,
Pharmaceutical &      nutritional    Disclaims: "AMERICA'S"    Disclaims: "AMERICA'S"   non-medicated       INC.
Natural Foods         supplements    Reg: 4746721              Reg: 2470487             skin care
Corporation                          Serial: 86363303          Serial: 75803026         preparations


                                     Registered                Registered And Renewed
                                     Reg: 06/02/2015           Reg: 07/17/2001
                                     Filed: 08/11/2014         Filed: 09/17/1999

CYTOSPORT, INC.       005            EVOLVE                    EVOLVE                   003                 Good Ventures
                      dietary and    Reg: 4360205              Reg: 5543552             non-medicated       Limited
                      nutritional    Serial: 85676705          Serial: 87337614         skin serums
                      supplements
                                     Section 8 - Accepted      Registered
                                     Reg: 07/02/2013           Reg: 08/21/2018
                                     Filed: 07/13/2012         Filed: 02/15/2017

Shaklee Corporation   005            TURNAROUND                TURNAROUND               003                 CLINIQUE
                      dietary and    Reg: 4946489              Reg: 1806987             cosmetics           LABORATORIES,
                      nutritional    Serial: 85747342          Serial: 74376476                             LLC
                      supplements


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                                                    #:1806
                                           Registered              Registered And Renewed
                                           Reg: 04/26/2016         Reg: 11/30/1993
                                           Filed: 10/05/2012       Filed: 04/06/1993

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DC Labs, Inc.            005               OVATION                 OVATION                      003               Bell, Ann
                         dietary and       Reg: 5319744            Reg: 3465511                 body and beauty   Bell, Robert D.
                         nutritional       Serial: 85795613        Serial: 77180816             care cosmetics
                         supplements                               2(f) claim
                                           Registered
                                           Reg: 10/31/2017         Registered And Renewed
                                           Filed: 12/05/2012       Reg: 07/15/2008
                                                                   Filed: 05/14/2007

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Back2health, Inc         005               AMERIPURE               AMERIPURE                    003               DELASCO, LLC
                         dietary           Reg: 5054724            Reg: 3666718                 non-medicated
                         supplements       Serial: 86954819        Serial: 77664137             skin care
                                                                                                preparations
                                           Registered              Registered And Renewed
                                           Reg: 10/04/2016         Reg: 08/11/2009
                                           Filed: 03/28/2016       Filed: 02/05/2009

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Esse Nutrition LLC       005               BE BRILLIANT            BE BRILLIANT                 003               Chanel, Inc.
DBA Vitagurl             dietary and       Reg: 5077634            Reg: 6081617                 cosmetics
                         nutritional       Serial: 86962236        Serial: 88455554
                         supplements
                                           Registered              Registered
                                           Reg: 11/08/2016         Reg: 06/16/2020
                                           Filed: 04/02/2016       Filed: 05/31/2019

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TREE OF LIFE LTD         005               TREE OF LIFE            TREE OF LIFE                 003               Tree of Life Beauty


                     j   dietary and
                         nutritional   j   Reg: 5307613
                                           Serial: 87046885    j   Reg: 5987134
                                                                   Serial: 87376610         j   cosmetics
                                                                                                                  j
                                                                                                                  LLC




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                                                  #:1807
                         supplements
                                                Registered           Registered
                                                Reg: 10/10/2017      Reg: 02/18/2020
                                                Filed: 05/23/2016    Filed: 03/18/2017

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CrystalVision, LLC       005                    SL                   SL                          003                SHISEIDO
                         dietary and            Reg: 5099020         Reg: 3880756                cosmetics          COMPANY,
                         nutritional            Serial: 86915226     Serial: 77713170                               LIMITED
                         supplements,
                         vitamin and            Registered           Section 8 & 15 - Accepted
                         mineral                Reg: 12/13/2016      And Acknowledged
                         supplements,           Filed: 02/22/2016    Reg: 11/23/2010
                         nutraceuticals for                          Filed: 04/14/2009
                         healthy lean
                         weight support,
                         meal replacement
                         powdered
                         supplement,
                         herbal metabolism
                         booster
                         supplement,
                         essential fatty acid
                         supplements for
                         optimum health
                         and weight control

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Hydrology LLC            005                    HYDROLOGY            HYDROLOGY                   003                Borghese
                         nutritional            Reg: 5083487         Reg: 4629315                skin moisturizer   Trademarks Inc.
                         supplements            Serial: 86767661     Serial: 85851743


                                                Registered           Registered
                                                Reg: 11/15/2016      Reg: 10/28/2014


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                                                #:1808
                                   Filed: 09/25/2015    Filed: 02/15/2013

Teelah Corp         005            GOJO                 GOJO                        021               GOJO Industries,
                    dietary food   Reg: 5002091         Reg: 4221017                cream             Inc.
                    supplements    Serial: 86802603     Serial: 85517103


                                   Registered           Section 8 & 15 - Accepted
                                   Reg: 07/19/2016      And Acknowledged
                                   Filed: 10/28/2015    Reg: 10/09/2012
                                                        Filed: 01/16/2012

Kevin Alan Rummel   005            BF                   BF                          003               Hsueh, Shirley
                    dietary and    Reg: 5111045         Reg: 4057300                cosmetic creams
                    nutritional    Serial: 86805091     Serial: 85106525
                    supplements
                                   Registered           Section 8 & 15 - Accepted
                                   Reg: 12/27/2016      And Acknowledged
                                   Filed: 10/30/2015    Reg: 11/15/2011
                                                        Filed: 08/12/2010

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LOVEBUG             005            SPREAD THE LOVE      SPREAD THE LOVE             003               Booda Organics, Inc.
NUTRITION, INC.     nutritional    Reg: 5177989         Reg: 4209620                non-medicated
DBA LOVEBUG         supplements    Serial: 86945983     Serial: 85541399            skin care
PROBIOTICS                                                                          preparations
                                   Registered           Section 8 & 15 - Accepted
                                   Reg: 04/04/2017      And Acknowledged


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                                      Filed: 03/18/2016    Reg: 09/18/2012
                                                           Filed: 02/13/2012
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Green Hills Holding    005            WW                   WW                          003         Way Of Will Inc.
Company                dietary and    Reg: 5465134         Reg: 5632688                cosmetics
                       nutritional    Serial: 87017829     Serial: 87909368
                       supplements
                                      Registered           Registered
                                      Reg: 05/08/2018      Reg: 12/18/2018
                                      Filed: 04/28/2016    Filed: 05/06/2018




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Bio-Botanica Inc.      005            24/7                 24/7                        003         L'Oreal USA
                       dietary and    Reg: 5104555         Reg: 4019563                cosmetics   Creative, Inc.
                       nutritional    Serial: 87026407     Serial: 85244881
                       supplements
                                      Registered           Section 8 & 15 - Accepted
                                      Reg: 12/20/2016      And Acknowledged
                                      Filed: 05/05/2016    Reg: 08/30/2011
                                                           Filed: 02/17/2011




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HILL VIEW                  005                    KR                   KR                  003             Jiangmen Constant
PHARMACEUTICA              vitamins, namely,      Reg: 5149646         Reg: 5390510        cosmetics       Day Technology Co.,
LS, INC.                   thiamin, riboflavin,   Serial: 87037063     Serial: 87494869                    LTD
                           niacin, pyridoxine,
                           cyanocobalamin,        Registered           Registered
                           folacin, biotin,       Reg: 02/28/2017      Reg: 01/30/2018
                           vitamin a, vitamin     Filed: 05/14/2016    Filed: 06/19/2017
                           b-complex, vitamin
                           d, vitamin e, and
                           vitamin k




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Inner Brilliance LLC       005                    DRIVE                DRIVE               003             Caren Products, LLC
                           dietary                Reg: 5202715         Reg: 4646082        skin cleanser
                           supplements            Serial: 86854833     Serial: 86011534


                                                  Registered           Registered
                                                  Reg: 05/16/2017      Reg: 11/25/2014
                                                  Filed: 12/19/2015    Filed: 07/16/2013




                       I
Eric Frayman               005                    GG                   GG                  003             Gucci America, Inc.
                           dietary and            Reg: 5307391         Reg: 4748802        cosmetics
                           nutritional            Serial: 86914266     Serial: 86101884
                           supplements

                                                                      28
                   Case 2:21-cv-02022-DOC-KES Document 28-3 Filed 03/29/21 Page 53 of 88 Page ID
                                                    #:1811
                                     Registered           Registered
                                     Reg: 10/10/2017      Reg: 06/02/2015
                                     Filed: 02/20/2016    Filed: 10/25/2013




Bioactives, Inc.      005            IOS                  IOS                      005                 DR. ELAINE'S
                      dietary        Reg: 5921271         Reg: 2279984             medicated skin      ADVANCED SKIN
                      supplemental   Serial: 87126584     Serial: 75399051         care preparations   TREATMENT, L.
                      drinks
                                     Registered           Registered And Renewed
                                     Reg: 11/26/2019      Reg: 09/21/1999
                                     Filed: 08/03/2016    Filed: 12/02/1997

EHPLABS, LLC          005            PSI                  PSI                      003                 Pharmaceutical
                      dietary        Reg: 5342082         Reg: 2348326             skin cream          Specialties, Inc.
                      supplements    Serial: 87169712     Serial: 75607277


                                     Registered           Registered And Renewed
                                     Reg: 11/21/2017      Reg: 05/09/2000
                                     Filed: 09/13/2016    Filed: 12/17/1998




                                                         29
                  Case 2:21-cv-02022-DOC-KES Document 28-3 Filed 03/29/21 Page 54 of 88 Page ID
                                                   #:1812
Premier              005            ZE                   ZE                       003                 Metabeauty, Inc.
Manufacturing LLC    dietary        Reg: 5195350         Reg: 4859755             non-medicated
                     supplements    Serial: 87179823     Serial: 86617382         skin care
                                                                                  preparations
                                    Registered           Registered
                                    Reg: 05/02/2017      Reg: 11/24/2015
                                    Filed: 09/22/2016    Filed: 05/01/2015




                                                             Ze•
COGNITIVE IP         005            STOKED               STOKED                   003                 Revelations Perfume
HOLDINGS, LLC        dietary and    Reg: 6125441         Reg: 3331656             skin care lotions   and Cosmetics, Inc.
                     nutritional    Serial: 88262464     Serial: 78745681
                     supplements
                                    Registered           Registered And Renewed
                                    Reg: 08/11/2020      Reg: 11/06/2007
                                    Filed: 01/15/2019    Filed: 11/02/2005

ECS Brands Ltd.      005            HF                   HF                       003                 HommeRejuvenate
                     dietary food   Reg: 6020202         Reg: 5853160             skin lotions        Inc.
                     supplements    Serial: 88304177     Serial: 88093030


                                    Registered           Registered
                                    Reg: 03/24/2020      Reg: 09/03/2019
                                    Filed: 02/15/2019    Filed: 08/26/2018




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                         Case 2:21-cv-02022-DOC-KES Document 28-3 Filed 03/29/21 Page 55 of 88 Page ID
                                                          #:1813
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    SAMO HEALTH                005               KYOKU                   KYOKU                   003                   Kyoku Holdings LLC
    INC.                       dietary and       Reg: 5759339            Reg: 4836226            body and beauty       DBA Kyoku for Men
                               nutritional       Serial: 88038093        Serial: 86564265        care cosmetics
                               supplements
                                                 Registered              Registered
                                                 Reg: 05/21/2019         Reg: 10/20/2015
                                                 Filed: 07/15/2018       Filed: 03/14/2015

I                          I                 I                       I                       I                     I                        I
    Thomas Berryman            005               PRIVY                   PRIVY                   003                   ZWIEFEL, JOYCE
                               vitamins          Reg: 6154091            Reg: 4773225            skin lotion
                                                 Serial: 88255944        Serial: 85612633


                                                 Registered              Registered
                                                 Reg: 09/15/2020         Reg: 07/14/2015
                                                 Filed: 01/09/2019       Filed: 04/30/2012

I                          I                 I                       I                       I                     I                        I
    LevelUp                    005               AC                      AC                      003                   T-Garden Co., Ltd.
    International, LLC         dietary and       Reg: 5866406            Reg: 5053555            cosmetic creams
                               nutritional       Serial: 88264873        Serial: 86905143
                               supplements
                                                 Registered              Registered
                                                 Reg: 09/24/2019         Reg: 10/04/2016
                                                 Filed: 01/17/2019       Filed: 02/11/2016
I                          -                 -                       -                       -                     -




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                                                   #:1814




Redefine Nutrition,   005           PX                   PX                       003               ESTEE LAUDER
LLC                   dietary and   Reg: 5800490         Reg: 2178647             skin cleansers    INC.
                      nutritional   Serial: 88280414     Serial: 75359497
                      supplements
                                    Registered           Registered And Renewed
                                    Reg: 07/09/2019      Reg: 08/04/1998
                                    Filed: 01/29/2019    Filed: 09/19/1997




                                    PX
JUJU                  005           JUJU                 JUJU                     003               JUJU LLC
PERFORMANCE           dietary and   Reg: 5899043         Reg: 3807487             body and beauty
LABS                  nutritional   Serial: 88291442     Serial: 77256139         care cosmetics
                      supplements
                                    Registered           Registered And Renewed
                                    Reg: 10/29/2019      Reg: 06/22/2010
                                    Filed: 02/06/2019    Filed: 08/15/2007

1623774 ONTARIO       005           CREED                CREED                    003               FONTAINE LIMITED
INC.                  dietary and
                      nutritional
                                    Reg: 6025337
                                    Serial: 88311731
                                                         Reg: 2810521
                                                         Serial: 78167506         j_j_
                                                                                  cosmetics



                                                        32
                    Case 2:21-cv-02022-DOC-KES Document 28-3 Filed 03/29/21 Page 57 of 88 Page ID
                                                     #:1815
                       supplements
                                      Registered           Registered And Renewed
                                      Reg: 03/31/2020      Reg: 02/03/2004
                                      Filed: 02/22/2019    Filed: 09/24/2002




HiQ Holdings Inc.      005            HIQ                  HIQ                         003               Carpenter Desai,
                       dietary        Reg: 5881099         Reg: 4867425                body and beauty   Holly E
                       supplements    Serial: 88029566     Serial: 85865221            care cosmetics


                                      Registered           Registered
                                      Reg: 10/08/2019      Reg: 12/08/2015
                                      Filed: 07/09/2018    Filed: 03/03/2013

XSYS                   005            ME                   ME                          003               Advanced Institute of
MANAGEMENT             dietary and    Reg: 5885684         Reg: 4103174                cosmetic creams   Skin Care
LLC                    nutritional    Serial: 86984051     Serial: 85263873
                       supplements
                                      Registered           Section 8 & 15 - Accepted
                                      Reg: 10/15/2019      And Acknowledged
                                      Filed: 03/31/2016    Reg: 02/21/2012
                                                           Filed: 03/10/2011




                                            me
                                                          33
                 Case 2:21-cv-02022-DOC-KES Document 28-3 Filed 03/29/21 Page 58 of 88 Page ID
                                                  #:1816
Olly PBC                005               LASER FOCUS          LASER FOCUS              003             Clinique
                        vitamin and       Reg: 5777252         Reg: 3881218             non-medicated   Laboratories, LLC
                        mineral           Serial: 87940190     Serial: 77823819         skin care
                        supplements                                                     preparations
                                          Registered           Registered And Renewed
                                          Reg: 06/11/2019      Reg: 11/23/2010
                                          Filed: 05/29/2018    Filed: 09/10/2009

                    I                 I
MC2 Nutrition LLC       005               STAUNCH              STAUNCH                  003             Beale, Eva Marie
DBA Staunch             dietary           Reg: 5688728         Reg: 5822062             cosmetics       DBA Grey Gardens
Nutrition               supplements       Serial: 87728262     Serial: 86837628


                                          Registered           Registered
                                          Reg: 03/05/2019      Reg: 07/30/2019
                                          Filed: 12/20/2017    Filed: 12/03/2015

                    I                 I
SHENZHEN D'SILY         005               KK                   KK                       003             Tame Your Mane,
BIOLOGICAL              dietary           Reg: 5554224         Reg: 5281018             cosmetics       LLC
TECHNOLOGY              supplements       Serial: 87759637     Serial: 87333858
Co.Ltd.
                                          Registered           Registered
                                          Reg: 09/04/2018      Reg: 09/05/2017
                                          Filed: 01/18/2018    Filed: 02/13/2017




                    I                 I
restoreGen LLC          005               POLYGEN              POLYGEN                  003             Dawson, Monica
                    j   dietary       j   Reg: 5555213        jReg: 5492031             j
                                                                                        non-medicated   j
                                                              34
                 Case 2:21-cv-02022-DOC-KES Document 28-3 Filed 03/29/21 Page 59 of 88 Page ID
                                                  #:1817
                           supplements        Serial: 87777247        Serial: 87677137             skin creams


                                              Registered              Registered
                                              Reg: 09/04/2018         Reg: 06/12/2018
                                              Filed: 01/30/2018       Filed: 11/08/2017

                       I                  I                       I                            I
HUDSON VALLEY              005                TREATY                  TREATY                       003               Y.Z.Y. INC
HEMP COMPANY,              dietary            Reg: 5915570            Reg: 3235381                 cosmetic creams
LLC                        supplemental       Serial: 87802453        Serial: 78809113             for skin care
                           drinks
                                              Registered              Registered And Renewed
                                              Reg: 11/19/2019         Reg: 04/24/2007
                                              Filed: 02/19/2018       Filed: 02/07/2006

                       I                  I                       I                            I
Euclid Projects, LLC       005                SYZYGY                  SYZYGY                       003               Changchun Chengji
                           dietary            Reg: 5594704            Reg: 5374997                 cosmetics         Technology CO.,
                           supplements        Serial: 87815835        Serial: 87483963                               LTD.


                                              Registered              Registered
                                              Reg: 10/30/2018         Reg: 01/09/2018
                                              Filed: 03/01/2018       Filed: 06/12/2017

                       I                  I                       I                            I
MyoBlox LLC                005                MARTIAN                 MARTIAN                      003               Sunday Riley
                           dietary and        Reg: 6020345            Reg: 5177984                 skin toners       Modern Skincare,
                           nutritional        Serial: 88374594        Serial: 86944139                               LLC
                           supplements
                                              Registered              Registered
                                              Reg: 03/24/2020         Reg: 04/04/2017
                                              Filed: 04/06/2019       Filed: 03/17/2016

                       I                  I                       I                            I
MUSCADINE                  005                NOBILITY                NOBILITY                     003               Ming Fai Enterprise
PRODUCTS,              j   dietary and    j   Reg: 5896060        j   Reg: 5674374             j   cosmetic creams   j
                                                                                                                     International Co., Ltd


                                                                  35
                 Case 2:21-cv-02022-DOC-KES Document 28-3 Filed 03/29/21 Page 60 of 88 Page ID
                                                  #:1818
CORP.                nutritional   Serial: 88392213     Serial: 87957992
                     supplements
                                   Registered           Registered
                                   Reg: 10/29/2019      Reg: 02/12/2019
                                   Filed: 04/18/2019    Filed: 06/12/2018




Max One Nutrition,   005           MM                   MM                       003           Caruso Property
LLC                  dietary and   Reg: 5914914         Reg: 6186833             skin lotion   Management, Inc.
                     nutritional   Serial: 88444960     Serial: 88978809
                     supplements
                                   Registered           Registered
                                   Reg: 11/19/2019      Reg: 10/27/2020
                                   Filed: 05/24/2019    Filed: 03/14/2019




NUBEST, INC.         005           NUBEST               NUBEST                   003           Best & Co. Hair
                     dietary and   Reg: 5751063         Reg: 3826187             cosmetics     Cutters Ltd.
                     nutritional   Serial: 88143882     Serial: 77734100
                     supplements
                                   Registered           Registered And Renewed
                                   Reg: 05/14/2019      Reg: 07/27/2010

                                                       36
                     Case 2:21-cv-02022-DOC-KES Document 28-3 Filed 03/29/21 Page 61 of 88 Page ID
                                                      #:1819
                                       Filed: 10/04/2018    Filed: 05/11/2009




                                        NuBest
                                                    "'
Thai Health and         005            CB                   CB                      003                  Cellbone
Beauty, LLC             dietary        Reg: 5781288         Reg: 4323658            non-medicated        Technology, Inc.
                        supplements    Serial: 88198139     Serial: 85702991        skin care
                                                                                    preparations
                                       Registered           Section 8 - Accepted
                                       Reg: 06/18/2019      Reg: 04/23/2013
                                       Filed: 11/18/2018    Filed: 08/14/2012




Fire Distribution,      005            TROPICAL ROOTS       TROPICAL ROOTS          003                  Bronner Bros Inc.
Inc.                    herbal         Reg: 6018511         Disclaims: "TROPICAL"   non-medicated
                        supplements    Serial: 88596956     Reg: 6163812            hair and skin care
                                                            Serial: 88837639        preparations
                                       Registered
                                       Reg: 03/24/2020      Registered
                                       Filed: 08/28/2019    Reg: 09/29/2020
                                                            Filed: 03/17/2020

Scott, Jason T
                       J005           J
                                       FF
                                                           J
                                                            FF                      003
                                                                                    J
                                                                                                         Fearless Fathers,
                                                                                                         J
                                                           37
                Case 2:21-cv-02022-DOC-KES Document 28-3 Filed 03/29/21 Page 62 of 88 Page ID
                                                 #:1820
                      herbal        Reg: 6013721         Reg: 5239556             pre-packaged care   LLC
                      supplements   Serial: 88605779     Serial: 87052917         kits for infants
                                                                                  comprised of baby
                                    Registered           Registered               wipes and non-
                                    Reg: 03/17/2020      Reg: 07/11/2017          medicated skin
                                    Filed: 09/05/2019    Filed: 05/27/2016        care cream




Eagle Supplements,    005           EAGLE                EAGLE                    003                 Nice Group Co., Ltd.
LLC                   dietary       Reg: 6062902         Reg: 2930138             cosmetics
                      supplements   Serial: 88617111     Serial: 76524736


                                    Registered           Registered And Renewed
                                    Reg: 05/26/2020      Reg: 03/08/2005
                                    Filed: 09/14/2019    Filed: 06/13/2003

MacuHealth, Limited   005           VE                   VE                       003                 VIP Event Inc.
Partnership           herbal        Reg: 5814606         Reg: 5456638             cosmetics
                      supplements   Serial: 87902585     Serial: 87381094


                                    Registered           Registered
                                    Reg: 07/23/2019      Reg: 05/01/2018
                                    Filed: 05/01/2018    Filed: 03/22/2017




                                                        38
                  Case 2:21-cv-02022-DOC-KES Document 28-3 Filed 03/29/21 Page 63 of 88 Page ID
                                                   #:1821




Fidem                005            SS                   SS                  003               Melanie Taylor
Pharmaceuticals      dietary        Reg: 5808065         Reg: 5013272        body and beauty   DBA Skin and Swim
Inc.                 supplements    Serial: 87909887     Serial: 86077634    care cosmetics


                                    Registered           Registered
                                    Reg: 07/16/2019      Reg: 08/02/2016
                                    Filed: 05/07/2018    Filed: 09/28/2013




Advanced             005            NATURELY             NATURELY            003               Beauticell LLC
Nutritional          dietary and    Reg: 6167531         Reg: 5443059        body and beauty   DBA Naturely
Supplements          nutritional    Serial: 88732304     Serial: 87601752    care cosmetics
                     supplements
                                    Registered           Registered
                                    Reg: 10/06/2020      Reg: 04/10/2018
                                    Filed: 12/18/2019    Filed: 09/08/2017

Web Marketing LLC    005            FRONTROW             FRONTROW            003               W Concept Korea


L._____j_J~ _ _ _j_j________J
                     dietary
                     supplements
                                    Reg: 5988375
                                    Serial: 88445331
                                                         Reg: 5125612
                                                         Serial: 86833291


                                                        39
                                                                             cosmetics         Co., Ltd
                        Case 2:21-cv-02022-DOC-KES Document 28-3 Filed 03/29/21 Page 64 of 88 Page ID
                                                         #:1822
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                                                Registered               Registered
                                                Reg: 02/18/2020          Reg: 01/17/2017
                                                Filed: 05/24/2019        Filed: 11/28/2015



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I                         I                 I                        I                            I                      I                       I
    Right Fitness and         005               BACK IN BLACK            BACK IN BLACK                003                    Y.Z.Y., INC.
    Nutrition, LLC            dietary and       Reg: 6043962             Reg: 3966702                 cosmetics
    DBA Super Health          nutritional       Serial: 88452836         Serial: 77569887
    Center                    supplements
                                                Registered               Registered And Renewed
                                                Reg: 04/28/2020          Reg: 05/24/2011
                                                Filed: 05/30/2019        Filed: 09/15/2008

                          I                 I                        I                            I                      I                       I
    Hum Nutrition, Inc.       005               AIR PATROL               AIR PATROL                   003                    Benefit Cosmetics
                              dietary           Reg: 6074620             Reg: 4890360                 cosmetics              LLC
                              supplements       Serial: 88687141         Serial: 86432819


                                                Registered               Registered
                                                Reg: 06/09/2020          Reg: 01/19/2016
                                                Filed: 11/11/2019        Filed: 10/23/2014

                          I                 I                        I                            I                      I                       I
    NUTRIMAX INC              005               GREEN MAGIC              GREEN MAGIC                  003                    Liquid Gold Hair
                              nutritional       Disclaims: "GREEN"       Disclaims: "GREEN"           non-medicated          Products, Inc
                              supplements       Reg: 4612908             Reg: 4349002                 hair restoration
                                                Serial: 86178069         Serial: 85609840             lotions

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                                                     #:1823
                                             Section 8 - Accepted      Section 8 - Accepted
                                             Reg: 09/30/2014           Reg: 06/11/2013
                                             Filed: 01/28/2014         Filed: 04/26/2012

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    FARMAMEDICA,           005               PENSOL                    PENSOL                   003             Shenzhen Xingkong
    S.A.                   vitamin           Reg: 1926266              Reg: 6292757             cosmetics       Matrix Technology
                           supplement        Serial: 74485654          Serial: 90057634                         Co., Ltd.


                                             Registered And Renewed    Registered
                                             Reg: 10/10/1995           Reg: 03/16/2021
                                             Filed: 02/02/1994         Filed: 07/16/2020

I                      I                 I                                                                                            I
    Maximum Human          005               SECRET SAUCE              SECRET SAUCE             003             L'OREAL USA
    Performance, LLC       dietary and       Reg: 4553412              Reg: 5387016             cosmetics       CREATIVE, INC.
                           nutritional       Serial: 86067991          Serial: 86553347
                           supplements
                                             Section 8 - Accepted      Registered
                                             Reg: 06/17/2014           Reg: 01/23/2018
                                             Filed: 09/18/2013         Filed: 03/04/2015

I                      I                 I                                                                                            I
    VITAMIN SHOPPE         005               ULTIMATE MAN              ULTIMATE MAN             003             L'Oreal USA
    PROCUREMENT            vitamins          Reg: 3378676              Reg: 3191508             non-medicated   Creative, Inc.
    SERVICES, LLC                            Serial: 78922844          Serial: 78651821         skin care
                                                                                                preparations
                                             Registered And Renewed    Registered And Renewed
                                             Reg: 02/05/2008           Reg: 01/02/2007
                                             Filed: 07/05/2006         Filed: 06/16/2005

I                      I                 I                                                                                            I
    RAE WELLNESS           005               RAE                       RAE                      003             Rae Cosmetics, Inc.
    PBC                    dietary and       Reg: 6149697              Reg: 3079248             cosmetics
                           nutritional       Serial: 88978373          Serial: 78589358
                           supplements
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                                                    #:1824
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                                              Registered              Registered And Renewed
                                              Reg: 09/08/2020         Reg: 04/11/2006
                                              Filed: 03/26/2019       Filed: 03/17/2005




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    Palm Ventures LLC       005               MYX                     MYX                          003                     SUNLESS, INC
                            dietary           Reg: 6245879            Reg: 4869418                 skin tanning
                            supplements       Serial: 87860813        Serial: 86438972             enhancers in the
                                                                                                   nature of non-
                                              Registered              Registered                   medicated skin
                                              Reg: 01/12/2021         Reg: 12/15/2015              care preparations
                                              Filed: 04/03/2018       Filed: 10/29/2014
I                       -                 -                       -                            -                       -




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                               Exhibit D
         Case 2:21-cv-02022-DOC-KES Document 28-3 Filed 03/29/21 Page 68 of 88 Page ID
                                                                                 Login ♦J@&
                                          #:1826
        Q.                                                                           INSIDER
                                                                      ""DOW +0.62%   "" S&P 500 +0.52%   ""NASDAQ 100 +0.12%



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The scam of reputation-washing: How corporations
successfully cover up their big-money messes with small­
dollar philanthropic giving
Paul Constant Oct2.2019, 11:50AM
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Paul Constant, Angela Ciccu

                                                                                                                               What staring at a      How the $30 million
                                                                                                                               screen all day does to 'Super Scooper' CL-
                                                                                                                               your brain and body    415EAF plane was




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Case 2:21-cv-02022-DOC-KES Document 28-3 Filed 03/29/21 Page 69 of 88 Page ID
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                                                                                                                                 I
   • Paul Constant is a writer at Civic Ventures, a cofounder of the
     Seattle Review of Books, and a frequent co-host of the Pitchfork
     Economics podcast with Nick Hanauer.


   • In this opinion piece, he argues that the philanthropic system in
     America is "broken," with billionaires providing the funding for
     systems that have been defunded by elites.
                                                                           ~.._ Get What You Need To Succeed
                                                                                               G$obao1 lndu3tnnt-



   • The most egregious type of philanthropy is when companies
     "reputation-wash," or wash away their sins by donating a fraction
                                                                           FROM THE WEB                                                         byT~bool.'1
     of their revenue.

                                                                                _,,._liiaa
   • To that end, Constant says it's time to discuss ending tax
                                                                            J      ••    I     ~   •

     loopholes that allow companies to profit from corporate g iving.           • •r         • --~-             -==a


                                                                           Seize the                                   Harry Potter Star Is
   • For more on this topic, listen to the latest episode of Pitchfork     opportunities,                              Probably The
     Economics.                                                            swerve the risks.                           Prettlest Woman In
                                                                           Si          rSo ,   d   }t   -,'I<   EIU    ~,,      ~(    byZ,     1,.;   .J( r




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                                                                           CONTENT

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                                                                           Eoun 1 6,000 Bonus Points after
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                                                                           cm Rewards+® C3rel
   It feels socially unacceptable for me to admit that our philanthropic   Credit Cards That Can't Be Beat In
   system is broken. Bill and Melinda Gates, after all, are eradicating    2021
                                                                           Ner<fW3llel
   polio worldwide through the good work of their foundation. Around
                                                                           What I s The Biggest Mistake People
   the country on any given day, corporations and the super-rich are       Make With $1 MIiiion?
                                                                           F1sner Investments
   donating hundreds of thousands of dollars to charities that house
                                                                           Where should you Invest $ 1 ,000 right
   the homeless, help educate children, and generally improve the          now?
   quality of life for the poorest Americans. How can any of this          TllCM0UoyFOOI
                                                                                                                                              oianomi
   possibly be perceived as a bad thing'?


   Most of the social benefits that billionaires deliver now - space
   programs and vaccinations, scientific research, and educational
   investments - used to be funded with tax dollars and distributed
Case  2:21-cv-02022-DOC-KES
   mroug11  me tederal government. ijut aDocument    28-3 started
                                         n ongomg campaign   Filed 03/29/21 Page 70 of 88 Page ID
                                                  #:1828
   in the Reagan Administration by proponents of trickle -down
   economics convinced pretty m uch everyone that anything
   government can do with taxpayer dollars, private enterprise can do
   better, faster, and more efficie ntly. (Which, by the way, isn't true -   ~
   growing body of evidence suggests that the public sector is more
   efficie nt than the private sector.) To a grateful nation that's been
   addled by four decades straight of runaway income inequality, the
                                                                                 PO PUL A R WITH S UB SC R I B E RS
   good works provided by wealthy people far outweigh the decades of
   punishment that those same magnanimous elites have d elivered to
   the tax-funded safety net.


   Journalistic firebrand Anand
   Giridharadas literally wrote the
   book on the charade of
   p hilanthropic giving. Subtitled
   "The Elite Charade of Changing                                                Manhattan DA Revved up Trump
   the World," Giridharadas's new-                                               Inquiry After He Left Office:
                                                                                 Witness
   in-paperback book "Winners
   Take All" explains the practice            Justin Sullivan/Getty Images
   of philanthropy as a kind of
   shell game disguising the sins of the top one percent behind an
   ostentatious facade of do-goading. Through philanthropy,
   Gi ridharadas warns in the latest episode of Pitchfork Economics, the
   wealthiest people and corporations on the planet "can do bad things
   in the billions and do good things in the millions."


   Perhaps the clearest - and, to my mind, the most egregious - form
   of corporate philanthropy comes in "reputation-washing."
   Corporations do this all the time: they contribute some small (bu t
   very visible) amount of money toward the solution for a problem
                                                                                                           I-
   that they themselves have created in the hunt for omsize profits.
   T he glow of philanthropic giving obscures the exponential wealth
   that the corporation draws from the situat ion they're ostensibly
   trying to solve. It is, literally, throwing good money after bad.



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   You can't get much more stereotypically American than Coca-Cola.
   T he sugary beverage-maker has for decades worked to hide its clear
   connection to obesity, while at the same time supporting youth
   sports initiatives and building p laying fields for young women in
   unclerserved communities. This giving serves as a smokescreen on
       Case 2:21-cv-02022-DOC-KES Document 28-3 Filed 03/29/21 Page 71 of 88 Page ID
          two fronts: in addition to creating a general air of concern about
                                                              #:1829
              public health, it also advertises Coca-Cola products to children - a
              practice char Coke has sworn not to do.


              Coca-Cola also donates
              thousands of dollars to "support
              citizen science efforts to study
              t he prevalence of micro-plastics
              ... a serious and growing
              concern, both for the
              environment and for human
              health." (Coca-Cola uses three       8.5 ounce bottles of Coca-Cola at the
              million tons of plastics in its      Cadillac Championship golf tournament
                                                   In Doral, Fla. AP Photo/Wilfredo Lee
              packaging per year.) And the
              millions of dollars that Coke
              puts toward clean-water initiatives is a drop in the bucket compared
              to the company's extractive water use.


              Reputation-washing isn't just for the soft drink business. Exxon
              earlier this year was proud to issue a press release announcing it has
              donated $350,000 "to United Way and the American Reel Cross to
              su pporc local flooding relief assistance associated with tropical
              storm Tmelda in the Beaumont and greater Houston areas in Texas"
              - a terrible storm that was worsened by climate change caused by
              fossil fuels. Other oil and gas manufacturers like BP similarly donate
              to disaster relief funds.


              Perhaps the most craven form of reputation-washing can be found
              in the firearm industry. The website for the National Rifle
              Association trumpets the fact that "Smith & Wesson s upports
              children's charities with its annual Night of Laughter event
              featuring live comedy acts," without acknowledging that their AR-
              IS-style rifles were used in countless mass shootings, including the
              Parkland massacre. Tc's entirely possible - maybe even likely - t hat
              Smith & Wesson has donated some small s um to a hospital t hat has
              treated victims of a massacre committed with weapons made by
              Smith & Wesson.




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              Read more: How American culture and a sense of 'aggrieved
              enlillement' in males can lead to mass shooters
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                                                     #:1830
   In the end, philanthropy serves as a kind of respectable Dr. Jekyll to
   a corporation's profiteering Mr. Hyde personality. For less than a
   tenth of one percent of its total revenue, a corporation can wash all
   its sins away. In fact, if you want to find out what a corporation's
   worst transgressions are, you don't have to be an investigative
   journalist: just look at where it donates its charitable giving. Those
   blandly named funds and foundations and grants and prizes all
  gesture directly to the source of the corporation's unimaginable
  wealth - a problem's cause and its effect, all wrapped up in a
   package of good vibes and glossy marketing.


  The value that these corporations enjoy from philanthropy doesn't
  just end at good press and positive consumer feelings. Even though
  reputation-washing is the equivalent of putting a Band-Aid on top of
   a broken bone, corporations profit from the tax deductions they
   earn in exchange for their charitable giving. It's time to begin a
   public discussion about ending or capping the tax-deductible
   loopholes that corporations ruthlessly exploit for profit and public
   relations. The system is broken, and no amount of feel-good
   donations can fix it.


   Paul Constant is a writer at Civic Ventures, a public policy incubator
   based oul of Seattle, and a co.founder oflhe Seau/e Review o.fBooks.
   His writing has been published in the Los Angeles Times, BuzzFeed
   News, the New York Observe,~ and che Seattle Times.




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   Listen to the Podcast: In 2014, vemure capiwlisL Nick Hanauer
   warned his fellow plutocrats that our growing crisis ofeconomic
   inequality would lead lo an uprising or a diclalOrship. Two years
   later, ang1y voters elected Donald Trump. In Pitchfork Economics,
   Nick explores why the pitchforks are coming, who they're coming/01;
   and how Lhe scories we Lell abouc che economy can change Lhe economy
   itself



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                         Charitable Giving: 7 Hated
                         Companies That Actually Give
                         Back a Ton
                                 ma
                                  Marcus Varner
                                  Nov 14, 2016 • 9 mm read




                         'Tis the season for giving back.


                         With Thanksgiving on the horizon and Christmas soon to follow, we're
                         entering that time of year when people's hearts, like Dr. Seuss' Grinch, grow
                         a linle bigger, and we give some thought to giving to those who are Jess
                         fornmate.

                         Not surprisingly, the last few months of t he year are prime time for
                         charities. According to one survey, most nonprofits organizations receive
                         the majori!;Y. of their contributions between October and December of any
                         given year.


                         So, nantrally, charitable giving is on everyone's mind. Even those of the
                         2016 presidential candidates. Namrally, as the Clinton-Trump matchup -
                         er, presidential election - swallowed up preny much everything else in
                         American society, it inevitably sucked charitable giving into its inescapable
                         vortex.




                         For months, Clinton and Trump traded blows about how the other had
                         misused charities and failed to support charities. Even on the day before the
                         election, billionaire and Hillary supporter David Tepper called out Donald
                         Trump for not giving to charities after 9/ 11 and Hurricane Sandy.

                         Why mention charities on the campaign trail? Because Americans care
                         about giving back. In fact, we give more to charity than any other nation on
                         earth. And we expect our most prominent leaders and celebrities to
                         P 1nhr:1rP :1nri rl P 1nnn ,;:tr:1t P   thl,;: v i r h 1P
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                   The same goes for companies.

                   Those companies we perceive as being generous we also tend to favor and
                   do more business with. Conversely, those who seem cheap when it comes to
                   supporting their communities we tend to vilify and avoid. At the same time,
                   there are certain companies we have deemed the Grinches of our economy,
                   maybe because of scandals or costly d isasters or sleazy ways. At the end of
                   the day, you would think that the Grinch companies that tend to engage in
                   misbehavior would also be those that mm their back on charitable giving,
                   right?

                   Not so fast. When you start doing even superficial research on which
                   companies give the most to charities, you start to realize that things aren't
                   nearly so clear-cut. To demonstrate, here are seven companies t h at
                   everyon e hates that actually give a ton to charity:



                   1. Wells Fargo




                   Wells Fargo is t he Grinch company du jour. Remember how Wells Fargo
                   executives encouraged their staff members to set up bank accounts and
                   credit cards without people's permission, just to meet sales goals? In just a
                   few years, they had set up millions of unauthorized credit card and bank
                   accounts. When the bank's fraudulent ways were discovered, they fired over
                   ~,300 lower-level em}llily~ but, in Grinch-y fashion, they didn't fire or cut
                   the bonuses of any of the executives who led the charge.

                   This year, Wells Fargo got officially busted and brought in for a very public,
                   very harsh congressional subcommittee tonguelashing.




                   Needless to say, Wells Fargo definitely looks like the bad guy right now,
                   with employee and customer trust at an all-time low. But there's just one
                   snag: Wells Fargo is one of the most charitable companies in the world.


                   According to Fortune's 2016 "Most Giving Companies" list, Wells Fargo
                   donated S281 million to various charitable causes just in 2015. In fact, they
                   have a corporate goal on donating between 1.2% and 1.5% of their
                   earnings each year to charities. Much of this money goes to "climate
Case 2:21-cv-02022-DOC-KES Document 28-3 Filed 03/29/21 Page 75 of 88 Page ID
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                    quality, land conservation, and support for building healthy urban
                     ecosystems," according to their website, as well as neighborhood
                     revitalization in low-income neighborhoods.




                     And they don't just throw money at charities: they also incentivize their
                     employees to take time to give back to their communities. Every year, for
                     instance, employees are given two days of paid leave to volunteer in a
                     charitable cause. According to their site, their employees have logged 4. 7
                     million volunteer hours building and rehabilitating thousand s of homes for
                     needy families.



                     2. Walmart




                     For years, the retail giant has been hounded by just about everyone.
                     Workers and workers rights advocates complain that Walmart shortchanges
                     their workers on their pay. Communities complain that Walmart
                     Supercenters strangle the life out of local businesses. Still others complain
                     that Walmart, with its habit of pushing prices on goods lower and lower,
                     feeds the sweatshop economy overseas. All of these complaints are true.

                     But these sames parties might be unaware that Walmart, which gave a
                     whopping $301 million to chariW. in 2015 alone, is also the second most-
                     generous company on earth when it comes to charitable giving.
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                   Much of that money went to imP.roving the economic mobili!Y. of their own
                   e1nployees and other retail workers, via training and career services.
                   Walman is also a major partner of the anti-hunger nonprofit Feeding
                   America, donating food and trucks to distribute the food to needy families.
                   The remainder of their giving went to flood relief, manufacturing
                   innovation initiatives, and efforts to curb food waste.



                   3. ExxonMobil




                   This company has been in the naughty corner for decades, going back as far
                   as the Exxon Valdez oil still!, which bathed 1,300 miles of pristine coastline
                   in crude oil and became the worst manmade disaster ever in U.S. waters. BP
                   has since taken that title with the Deepwater Horizon oil spill, but
                   ExxonMobil has found new ways to look evil.


                   Earlier this year, it was revealed that ExxonMobil P.aid researchers to
                   giP.Jlress scientific evidence of the link between global warming and fossil
                   fuels and they used their influence around Capitol Hill to muzzle those who
                   tried to speak on the same topic. TI1at's pretty Grinch-y alright.




                   But then you look at their charitable giving and you see a softer side of the
                   oil and gas giant. In 2015, ExxonMobil gave 13.2% of their annuals
                   earnings charity, a total of $268 million. This money covered a broad
                   spread of causes from science camps to anti-malaria efforts to an
                   international women's group founded by Hillary Clinton.



                   4. JPMorgan Chase
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                   Ever since the 2008 financial meltdown, everyone has a bad taste in their
                   mouth toward banks, especially those deemed "too big to fail." Chase Bank
                   received $25 billion in bailouts during the recession and found itself in hot
                   water numerous times during that time period for abusing customer funds,
                   illegal payment schemes, and excessive interest rates. Ultimately, JPMorgan
                   Chase paid hundreds of millions of dollars to make their legal woes go
                   away, but it might not be enough to make consumers forget.




                                            Financial Solutions Lab
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                   Again, going against their negative image, JPMorgan Chase, like Wells
                   Fargo, is one of the most charitable companies in t he world, giving $224
                   million in 2015. That's 3 .13% of their earnings. That money goes to
                   thousands of nonprofits throughout North America, including economic
                   recovery in Detroit, training for workers in endangered industries, and
                   services that help normal folks learn how to save, invest, and create wealth.



                   5. Pfizer


                                   11 HOT STARTUPS   HOW MURDOCHWENT
                                  ReadyforPrimetime WRONG. by Geoff Colvin


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                                            by PETER ELKINDandJENNIFERREINGDLD
                                                      withOORIS BU,Kf
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                   Pharmaceutical companies are an easy target for consumers and politicians
                   alike. They charge an arm and a leg for products that some literally can't
                   live without. They've also been known to use their considerable coffers to
                   make lawmakers and government agencies see things their way or look the
                   other way. Pfizer has been found to engage in bribery, tax avoidance, and
                   ~ P . 2 regarding defective products. As the biggest pharmaceutical
                   company in the world, Pfizer gets more than its fair share of hate, much of it
                   well-deserved.




                   But this hasn't kept Pfizer from giving back. The drug company gave
                   approximately $93 million to charities in 2015 and more than $3 billion in
                   medicines. Naturally, most of their cash donations go to health causes like
                   eradicating diseases, increasing access to immunizations to needy
                   populations, and making early health screenings available to more people.



                   6.CocaCola




                                Honesty is the best policy
                                             WV--"lv   Dietuoc,or ·or


                   Asthe ill health effects of soda became common kn owledge, Coca Cola's
                   image is increasingly under fire. But this year, reports were released that
                   revealed that Coca Cola had been using its considerable financial might to
                   P.Ush scientific studies that take the blame off soda and place them on Jack
                   of exercise - a deceptive move similar to those used by the ~gar industrY.
                   back in the 1970s.


                   What is a company that could potentially be blamed for the deaths of
                   millions to do? Why, aggressively give back to communities, of course. Just
                   in 2015, Coca Cola gave $117.3 million to charitable causes.
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                               r~~:~::• Hunger Free Colorado
                               One Hundred Thousand Dollars and 00/100
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                                    FtlEEIll




                   This money to thousands of nonP-rofits, boosting efforts to improve access
                   to safe drinking water for populations in the third world, educate
                   communities on hygiene, and grow education, arts, and environmental
                   causes. They also put a considerable amount funding toward economic
                   empowerment and entrepreneurship for women in less-developed nations.



                   7. Morgan Stanley
                   Let's just say Wells Fargo isn't the only major bank to pressure their
                   employees to open customer bank accounts by fraudulent means. From
                   2014 to 2015, Morgan Stanley held sales contests targeting loans especially
                   for wealthy clients and instantly creating a dangerous conflict of interest for
                   employees that was against the bank's own internal rules. They also
                   received $10 billion in bailouts during the financial meltdown. Needless to
                   say, Morgan Stanley has an image problem like so many other banks.




                   And they seem to be trying to rebuild customer trust and their brand image
                   by giving back to charities - $62 million, to be exact. Most of their
                   donations focus on efforts to solve pressing social problems. For instance,
                   like Walman, they parmer with Feeding America and also donate their
                   employees every year to volunteer at the nonprofit's food banks. They'll
                   even lend out employees on a longer-term basis to act as pro bono
                   consultants and help food banks run more efficiently and effectively.


                   Other causes that Morgan Stanley fund include fighting poverty in inner-
                   city neighborhoods and hiring out employees to provide consulting to other
                   nonprofits.



                   Grinches or Not?
                   So how should consumers views these companies who seem to give with
                   one hand, while aggressively taking with their other hand? Are they
                   Grinches or charity-loving do-gooders? Perhaps it's no accident that the
                   companies with the most egregious offenses also dole out the most to
                   charities. At the corporate level, as much as one might want to believe that
                   these are just unethical companies with hearts of gold, it's mucl1 more likely
                   that their charitable activities are well-calculated PR moves meant to gloss
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                    over these companies' unsavory pasts.
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                                     Charity    Banking




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                                                   WRITTEN BY

                                                   Marcus Varner
                                                   Wnter. Marketer. I'm obsessej with the consumer experience,
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                                                   new products on the mark.el




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  The 10 Most Toxic Philanthropists
  There has often been a tension between the personalities who give and the causes to which they give.
  But the 21st century has a lready seen a flood of bad actors giving philanthropy a bad name. Here are
  some of the worst.
                                                                                                                                                       II      Michelle Celarier
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                                       he Massachusetts Institute of Technology is one of the most

                             T          respected higher education institutions in the United States, and
                                        until j ust a few weeks ago, its edgy Media Lab was considered
                                      one of the most innovative research programs creating what it
                          calls "disruptive technologies."


                          But the S7.5 million in donations it received with the help of financier and                                         Editor Picks
                          convicted sex offender Jeffrey Epstein, who last month committed suicide
                          while awaiting trial on sex trafficking charges in a Manhattan prison cell, is
                          the real disruptor.


                          MIT Media Lab founder and professor Joi Ito has resigned after accepting
                          the donations, as have several other professors connected with the scandal.
                          Some students and faculty are even demanding the ouster of MIT president
                          Rafael Reif. After first denying any involvement with the Epstein money,                                             }      : :; ~h's 2021 Guide to Bette r

                          Reif finally admitted approving the donation- and demanding it be
                          anonymous- then signing a thank you letter to the pedophile.                                                                At Boston's Museum of Fine
                                                                                                                                               2      Arts, Monet Comes Out of the
                                                                                                                                                      Basement and Into the Light
                          It's now debatable whether the Media Lab will survive the scandal, and the
                          cover-up is being widely condemned. "The notion that the way to handle a
                                                                                                                                                      The Journey of Im pact
                          gift from Epstein was to anonymize it is appalling," says Phil Buchanan,
                          president of The Center for Effective Philanthropy. "If the instinct is to
                                                                                                                                               3      Philanthropy and the Work We
                                                                                                                                                      Have Ahead

                          want to hide something, that's almost always a sign it's the wrong thing to
                          do."                                                                                                                        Reimagining Large•Scale
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                          The Epstein MIT scandal is just the most recent- and flagrant- example of
                          the type of toxic philanthropy that increasingly pe:-vades the nonprofit
                          world and threatens to turn it upside down.


                          In the past, taking tainted money wasn't particularly controversial, even
Case 2:21-cv-02022-DOC-KES                    Document
               though those in the nonprofit world knew it could be28-3        Filed
                                                                    a way for the wealthy03/29/21 Page 82 of 88 Page ID
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               to launder somewhat sordid, even criminal, reputations.


                     Defenders point to some of the most renowned philanthropists in history-
                     Andrew Carnegie, John Rockefeller, Cecil J ohn Rhodes and Alfred Xobel-
                     as men who, during their lifetimes, were often ,iewed as noxious
                     indi\iduals. Carnegie employed thugs to break stn1<es by workers in his
                     steel mills, Rockefeller ran a monopoly that the US. go\"ernment
                     dismantled, Rhodes was a British white supremac-.st and ::--obel was a
                     munitions manufacturer.


                         Q~LATEO


                         Q&A: Anand Giriclharaclas



                     But a sea change is afoot, with writers such as Anand Giridharadas arguing
                     that all philanthropy is "fake change• and •MeToo ,ictims demanding
                     justice for beha,ior that was previously swept under the rug. :Meanwhile
                     politicians like Democratic presidential candidate Elizabeth Warren hope
                     to hea,ily tax the nation's wealthiest, arguing that it's better for much of
                     their fortunes to go to the go,i,mment to fund soc:al and emironmental
                     programs than to put their name3 on a museum \\ing, launder their
                     reputations or ease guilty consciences.




                     ''
                     If g h·ing money away makes the donor look
                     bad. what donor is going to give money away?

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                     The new mood is creating a moment of anxiety for the donor class and has
                     the potential to disrupt the flow of ghing. · ts all philanthropy going to be
                     seen as toxic?-"J asks one billionaire donor who requested anon}mity
                     because of the sensiti,ity of the topic. · If gt\1ng money away makes the
                     donor look bad, what donor is going to gh-e money away?"


                     The definition of a to,dc philanthropist is murlq·, but it typically includes
                     not just those convicted of heinous crimes, whether financial or personal,
                     but also the super wealthy whose business or personal beha,ior is seen as
                     detrimental to society.


                     Some even bring up Bill Gates, whose Microsoft Corp. reached a historic
                     settlement ,vith the U.S. Justice Department over antitrust allegations, as
                     someone who has used charity to change his image. If Gates' behavior was
                     once controversial, "now when we think of Gates, we think of how he
                     brought mosquito nets to Africa,., says Marianne Jennings, a business
                     ethics professor at the Uni,·ersity of Arizona.


                         RE_LATE D


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                     Jennings lists outsize philanthropic contributions as one of her "seven
                     signs of ethical collapse· among corporate CEOs in a book of the same title.
                     "Corporate fraudsters almost all use philanthropy as a co,·er. Because of all
                     their goodness, people ne,·er look any further,• she says.


                     That is getting harder to do. O,·er the past 18 mon:hs photographer Nan
                     Goldin, a recovering Oxycontin addict, led protests at the Metropolitan
                     Museum of Art, the Guggenheim and even the Louvre, over tlie millions the
                     museums have taken from the Sackler family, widely reviled as a key
                     instigator of the opioid crisis through their company, Purdue Pharma, the
                     makers of ili·ycontin. The compani•, which just filed for bankruptcy
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               protection, is on the verge of settling               28-3 1awsuits
                                                       a number of government Filed 03/29/21 Page 83 of 88 Page ID
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               against it for $10 billion, and there could be more to come.


                    Sackler's donations to the art wor1d have given rise to another term: art
                    washing. Protestors have asked that the museums take the Sackler name off
                    the wings named for them and give the donations to recovery groups.
                    Goldin has identified 23 museums that took the money.


                    The prob1em is that al1 nonprofits, from universities and museums to those
                    working on criminal j ustice refonn and cancer research, are dependent on
                    the rich, and nonprofits spend an inordinate amount of time courting them.
                    Even universities as prestigious as MIT and Ha1vard are "worried about
                    their rankings, which are related to how much money they raise," says
                    Buchanan. He argues that nonprofits need to remember that "they've got a
                    higher purpose than ma'Ximization of revenue."


                    Adds Jennings: "You can talk yourself blue in the face how you knew
                    nothing about it. But it almost always hurts the nonprofit."


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                       al Work



                    Intense media focus on the donations of people such as Epstein and the
                    Sacklers may, at the least, force nonprofits to look more closely before
                    taking money. "As a nonprofit, you have to ask yourself, 'Would I be
                    embarrassed to have this support?'" says Buchanan. '·Are we being used for
                    an objective that is counter to our values? And does the donor expect us to
                    provide them some benefit we're uncomfortable p::-oviding?"


                    It's also affecting the larger group of donors who simply want to do good.
                    "If you·re a donor and making a significant gift to an organization, I do
                    think you'd want to know that the leadership lives its values," says
                    Buchanan. "A reasonable question of any nonprofit director would be,
                    'What money won't you take?'"


                    Following, in no particular order, are 10 of the most toxic philanthropists of
                    the 21st century.




                    ■ Jeffrey Epstein
                                                     The extent of Jeffrey Epstein's efforts to
                                                     burnish his image as a do-gooder at the
                                                     san1e time he was allegedly sexually
                                                     abusing dozens of underage girls began to
                                                     come into public view after his arrest in
                                                     July for sex trafficking. Epstein was first
                                                     convicted of sexual offenses in 2008, and
                                                     before that his most significant
                                                     philanthropic contribution was S9 million
                                                     to Harvard University, which recently said
                                                     it would donate the $186,000 it had not
                    spent to organizations assisting survivors of human trafficking and sexual
                    assault.


                    After Epstein was released from prison, the se,mal predator helped
                    shepherd $7.5 million to MIT, which led to resignations of some people
                    associated with the funding once it was disclosed. Epstein made another
                    anonymous donation to the breast cancer charity that his former girlfriend
                    Eva Dubin-the wife of financier Glenn Dubin-had set up. He gave to
                    other scientific and medical foundations and funded individual scientists·
                    work. He also served on the board of the family foundation of private
                    equity mogul Leon Black, whose money was part of the S7.5 million he
                    shepherded to MIT.
             ..
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             Da,id Koch and his brother Charles created
             and funded a political movement to attack the
             legitimacy of climate science and roll back
             emironmental Jaws that would hurt the profits
             of Koch Industries, their prirntely held energy
             and chemicals conglomerate. While engaged in
             what is literally a toxic political effort, Da,id
             Koch, who died in August, also had a
             philanthropic organization that funded climate
             change denial research.


             Worth an estimated S48 billion, David Koch gave S1.2 billion to various
             other philanthropies, including museums and hospitals. Today his name is
             plastered on several New York institutions-including the David H. Koch
             Dinosaur Wing at the Museum of Natural Histmyand the David H. Koch
             Theater at Lincoln Center, which houses the New York City Ballet. Other
             recipients were the Metropolitan Museum of Art and the Memorial Sloan
             Kettering Cancer Center (Koch died of prostate cancer).


             Koch once admitted that having his name on elite art institutions "sent a
             message" to people who don·t like consen·ative businessmen. Others call
             that message "art washing.'




             ■ The Sadder family
             The Sacl<ler family, whose members are currently battling multibillion-
             dollar lawsuits by states and others over their role in the opioid epidemic,
             have brought art washing to a new high. In 2007, their privately held
             company Purdue Pharma. the maker of Oxycontin, pied guilty to a felony
             charge of deceiving doctors. But Jong before that occurred, the Sacklers
             were giving millions of dollars to museums. At latest count, they've donated
             to 23 cultural museums in the United States, the UK and France.


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             After a mo\"ement Jed by photographer Nan Goldin, a recovering addict, to
             •~-pose the contributions, London's Tate Museum, the Guggenheim in :-lew
             York and others said the)"ll take no more Sacl<ler money. The Louvre has
             taken the Sackler name off a wing of the museum, though it will remain at
              the Metropolitan :Museum of Art, the Smithsonian in Washington and
             elsewhere. Meanwhile, eight family members involved in ongoing lawsuits
             against Purdue Pharma and its family owners reached a tentative s10
             billion settlement with thousands of municipal governments nationwide
             and nearly two dozen states just before the company filed for bankruptcy in
             September. The Sacklers are believed to be worth $13 billion.




             II            Harvey \Veinstein
                                               In 2017, at least So women accused the
                                               renowned filmmaker of se~-ually abusing
                                               them, sparking the #MeToo movement. The
                                               ne:-..1. year, Harvey \\l'einstein ,,ras indicted on
                                               charges of rape and other se~-ual offenses,
                                               but he has not yet gone to trial. The furor
                                               surrounding Weinstein Jed the film company
                                               he and his brother cofounded, the Weinstein
                                               Company, to file for bankruptcy.


                                               While Weinstein wes allegedly preying on
              women in the film industry, he was also donating millions to rnrious
              causes, including progressive female politicians. An apparent effort to
              whitP.wash his namP. r;:imp whAn hp nlPrlt!'P<l i:.~ million to thP. UnivPn-itv of
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               Southern California film school toward a scholarship fund for female
               filmmakers. The school returned the money after a student protest called it
               "blood money." Weinstein also sat on the board of the Robin Hood
               Foundation, a New York charity set up by hedge fund billionaires, but he
               quit when the allegations of his sex-ual attacks surfaced.




              ■ Roger Ailes
               Rupert Murdoch's Fox News fired its
              longtime CEO Roger Ailes in 2016
              following an internal investigation of
               a number of sexual harassment
               accusations against Ailes from
               anchors such as Gretchen Carlson
               and Megyn Kelly. Fox settled lawsuits
               from several women for undisclosed
               amounts.


              As the contro,·ersy was unfurling,
              Ailes' nonprofit organization, AC! Senior Development, was planning to
              donate S500,000 toward an elder-care facility in Putnam County, N.Y.,
              where the Ailes lived at the time. Following a newspaper ei.-pose of the
              project, the county legislature postponed acceptance of the donation, and
              Ailes canceled it. The controversial project was to hear Roger Ailes name,
               and the contract would have allowed noncompetitive bidding and no legal
               recourse for employees o r contractors. Ailes also made what was termed a
               "generous" donation to Ohio University's college of communications, his
               alma mater. Ailes died in 2 017.




              II           Bill Cosby
                                                      Once a beloved comedian and TV star
                                                      known as "America's dad," Bill Cosby
                                                      was highly regarded for his generosity
                                                      to African American causes, including
                                                      S20 million to   Spelman College in
                                                      Atlanta, in 1988. At the time, it was
                                                      the largest single donation ever given
                                                      to a historically black college.
                                                      Spelman, an all-female school, even
                                                      endowed a professorship in his name.


               More than 60 women accused Cosby of sexual crimes including rape and
               attempted assault and sexual battery, often with the help of drugs. When
               those allegations were disclosed in 2015, Spelman killed the fellowship and
               returned Cosby's funds. In 2018 Cosby was found guilty of three counts of
               aggravated indecent assault and sentenced to three to 10 years in prison.




              ■ Michael Pearson
              The former CEO ofValeant
               Pharmaceuticals is known for
              leading the company into a series of
               acquisitions that turned it into a
               major drug company- one that
              jacked up the prices on some life-
               saving drugs to exorbitant levels.
              'Nhile neither Valeant nor Michael
               Pearson were ever accused of illegal
               action, the controversy led the
               compan)'s high-flying stock to
               collapse, and Pearson was ousted in 2016 after six years at the helm . The
              Valeant story was part of the 2 0 18 Netflix documentary series Dirty
              Money.
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               Pearson became a billionaire through his Valeant stock gains, and began to
                share the largesse, becoming one of Duke University's most generous
                donors. He donated $15 million to the Duke University School of Nursing
                on behalf of his wife, a graduate of that school. He also donated $30 million
                to Duke's Edmund T. Pratt Jr. School of Engineering, from which he had
                graduated. In addition, he donated S7.5 million to Dukes Fuqua School of
                Business.




                II            Raj Rajaratnam
                Raj Rajaratnam, founder of the now-defunct hedge fund Galleon Group,
                became the biggest hedge fund manager convicted during Pree! Bharara's
                far-reaching insider trading investigation when he was the U.S. attorney for
                the Southern District of New York. At its peak, Galleon ran $7 billion and
                was considered one of the hottest hedge funds in the world, with an
                annualized return of more than 2 0 percent. Rajaratnam was found guilty of
                securities fraud in   2011,   sentenced to u years in prison and released in
                September.


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                    10   Years of Power 100: Preel Bharar.1



                The reci pients of his charity were also controversial. Rajaratnam was an
                expatriate member of a minority Sri Lankan ethnic and religious group
                known as Tamils. In November 2009, a month after he was arrested,
                Rajaratnam pledged St million to help rehabilitate Tamil rebels hurt by
                land mines in Sri Lanka during a civil war in which the Tamils were
                fighting for their own homeland. The Tamil Tigers, as the militant
                separatists were called, were defeated in May 2009. A separate charity
                Rajaratnam founded funneled S3.5 million to help rebuild Sri Lanka
                follO\ving the 2 004 Tsunami.




               IJ             Bernard Madoff
                                                      The former hedge fund manager became
                                                      the face of the financial crisis when he
                                                      was arrested in December 2008 for
                                                      running a massiYe Ponzi scheme that cost
                                                      investors $18 billion in capital losses. In
                                                      March 2 009 he pied guilty and has been
                                                      imprisoned ever since.


                                                      To pull off his fraud, Bernie Madoff
                                                      preyed on members of the Jewish
                                                      community, where he was considered a
                pillar due to his extensive philanthropic work, including S19 million in gifts
                made through his Madoff Family Foundation.


                More than any other toxic philanthropist, he conV:nced the nonprofits on
                whose boards he sat to invest with him, and several were forced to close
                when Madoff imploded. Other victims of his affinity fraud were Hadassah,
                the Elie Wiesel Foundation and Steven Spielberg's Wunderkinder
                Foundation, all of which suffered losses due to the investments they made
                in Madoff's hedge fund. He was on the board of directors of the Sy Syms
                School of Business at Yeshiva University and served as the trnstees'
                treasurer.




               m              KenLay
                Ken Lay was founder, CEO and chairman
                of Enron in 2000 when the biggest
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               corporate scandal of the time engulfed the
               company, leading to its bankruptcy. Lay
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                              and Enron president Jeff Skilling were
                              indicted and found guilty of securities
                              fraud by a Houston federal jury. Enron
                              was the largest in a series of accounting
                              scandals that saw several other CEOs
                              convicted of fraud, such as Tyco's Dennis
                              Kozlowski and Adelphia's John Rigas.
                              These CEOs also had contributed heavily to charities.


                              One of the biggest contributions of the Lay family foundation and the
                              Enron corporate foundation was made to the M.D. Anderson Cancer Center
                              at the University of Texas. The contribution drew criticism after Enron's
                              collapse because the center's president, John Mendelson, was an Enron
                              board member who served on its audit committee, and the president
                              emeritus was Charles LeMaistre, another Enron board member who
                              chaired its compensation committee.


                              Under Lay's leadership, Enron allegedly used its corporate grantmaking to
                              try to win support for its deregulation initiatives from groups like the
                              Natural Resources Defense Council and the think tank Resources for the
                              Future. Lay died in 2005.




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